                     IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TEXAS
                               AUSTIN DIVISION

UNITED STATES OF AMERICA,             §
                                      §
        Plaintiff,                    §
                                      §
v.                                    §   Case No. 1:21-cv-00796-RP
                                      §
THE STATE OF TEXAS,                   §
                                      §
        Defendant.                    §

                   DEFENDANT’S MOTION TO DISMISS,
     RESPONSE TO PLAINTIFF’S MOTION FOR A PRELIMINARY INJUNCTION,
                 AND MOTION FOR STAY PENDING APPEAL
                                                            TABLE OF CONTENTS
Table of Contents .............................................................................................................................................. ii
Index of Authorities ......................................................................................................................................... iii
Introduction ........................................................................................................................................................ 1
Standard............................................................................................................................................................... 3
Argument ............................................................................................................................................................ 3
    I. The Federal Government Lacks the Power to Sue Texas for the Requested Relief .................. 4
         A. There Is No Justiciable Controversy between the Federal Government and Texas........... 4
         B. The Federal Government Cannot Obtain Relief against State Courts, Much Less
             Private Individuals ......................................................................................................................... 6
             1. This Court Cannot Enjoin Private Non-Parties ................................................................... 7
             2. This Court Cannot Enjoin Texas Courts ............................................................................10
         C. The Federal Government Is Not Injured ................................................................................17
             1. The Federal Government Lacks Parens Patriae Standing ...................................................18
             2. The Federal Government Lacks a Sovereign Injury ..........................................................19
         D. The Federal Government Lacks a Cause of Action ...............................................................22
             1. There Is No Constitutional or Statutory Cause of Action................................................22
             2. There Is No Common-Law or Equitable Cause of Action ..............................................24
             3. Congress Has Displaced Any Cause of Action ..................................................................30
    II. The Texas Heartbeat Act Is Lawful ................................................................................................34
         A. The Federal Government Has Not Shown a Clear Violation of the Fourteenth
             Amendment..................................................................................................................................34
         B. The Federal Government Has Not Clearly Shown the Act Is Preempted or
             Violates Intergovernmental Immunity .....................................................................................38
             1. Standard....................................................................................................................................38
             2. The Act Does Not Prohibit Carrying Out Federal Obligations ......................................39
             3. The Act Does Not Interfere with Federal Contracts ........................................................42
             4. The Act Is Consistent with Medicaid ..................................................................................43
    III. The Federal Government Has Not Clearly Shown Irreparable Harm .......................................44
         A. A Preliminary Injunction Would Not Eliminate the Possibility of Future Liability..........45
         B. Heartbeat Defendants and the Federal Government Have an Adequate Remedy
             at Law for any Liability Determined in State Court ...............................................................50
    IV. The Federal Government Has Not Clearly Shown that the Balance of Equities and Public
         Interest Favor an Injunction .............................................................................................................54
    V. The Requested Injunction Is Unlawfully Broad ............................................................................54
    VI. Request for a Stay Pending Appeal..................................................................................................56
Conclusion ........................................................................................................................................................57




                                                                                   ii
                                                          INDEX OF AUTHORITIES

                                                                                                                                                Page(s)

Cases

Abbott v. Perez,
   138 S. Ct. 2305 (2018) .............................................................................................................................. 54

In re Abbott,
     954 F.3d 772 (5th Cir. 2020), vacated as moot, Planned Parenthood Ctr. for Choice v.
     Abbott, 141 S. Ct. 1261 (2021) ................................................................................................................. 35

Adams & Boyle, P.C. v. Slatery,
   494 F. Supp. 3d 488 (M.D. Tenn. 2020) ................................................................................................ 19

Alaska Airlines, Inc. v. Brock,
   480 U.S. 678 (1987)................................................................................................................................... 55

Aldridge v. Miss. Dep’t of Corrections,
   990 F.3d 868 (5th Cir. 2021).................................................................................................................... 38

Alemite Mfg. Corp. v. Staff,
   42 F.2d 832 (2d Cir. 1930) (Hand, J.) ................................................................................................... 8, 9

Alexander v. Sandoval,
   532 U.S. 275 (2001)............................................................................................................................ 30, 33

Alexander v. Trump,
   753 F. App’x 201 (5th Cir. 2018) (per curiam) ..................................................................................... 23

Alfred L. Snapp & Son, Inc. v. Puerto Rico ex rel. Barez,
    458 U.S. 592 (1982)...................................................................................................................... 18, 19, 20

Ali v. Rumsfeld,
    649 F.3d 762 (D.C. Cir. 2011) ................................................................................................................. 24

American Postal Workers Union, AFL-CIO v. U.S. Postal Service,
  766 F.2d 715 (2d Cir. 1985) .............................................................................................................. 47, 48

Armstrong v. Exceptional Child Ctr., Inc.,
   575 U.S. 320 (2015)............................................................................................................................ 23, 33

Arpin v. Santa Clara Valley Transp. Agency,
   261 F.3d 912 (9th Cir. 2001).................................................................................................................... 23

Ashcroft v. Iqbal,
   556 U.S. 662 (2009)..................................................................................................................................... 4




                                                                             iii
Ayotte v. Planned Parenthood of N. New Eng.,
   546 U.S. 320 (2006)................................................................................................................................... 56

Bauer v. Texas,
   341 F.3d 352 (5th Cir. 2003)............................................................................................................. 10, 11

Bethell v. Peace,
    441 F.2d 495 (5th Cir. 1971)...................................................................................................................... 7

Boeing Co. v. Movassaghi,
    768 F.3d 832 (9th Cir. 2014).................................................................................................................... 39

Bond v. United States,
   572 U.S. 884 (2014)................................................................................................................................... 18

Bryant v. Maffucci,
    729 F. Supp. 319 (S.D.N.Y. 1990) .......................................................................................................... 41

Buckingham Corp. v. Karp,
   762 F.2d 257 (2d Cir. 1985) ..................................................................................................................... 48

Buntrock v. SEC,
   347 F.3d 995 (7th Cir. 2003).................................................................................................................... 51

Bush v. Lucas,
    462 U.S. 367 (1983)................................................................................................................................... 27

Cavett v. Ellis,
   578 F.2d 567 (5th Cir. 1978).................................................................................................................... 14

Chase Nat. Bank v. City of Norwalk,
   291 U.S. 431 (1934)...............................................................................................................................9, 10

City of Georgetown v. Alexandria Canal Co.,
    37 U.S. 91 (1838) ....................................................................................................................................... 28

Clapper v. Amnesty Int’l USA,
    568 U.S. 398 (2013)................................................................................................................................... 11

Clark v. State of Wash.,
    366 F.2d 678 (9th Cir. 1966).................................................................................................................... 15

Clark v. Valeo,
    559 F.2d 642 (D.C. Cir. 1977) (Tamm, J., concurring) ........................................................................ 21

Coleman v. United States,
    No. 5:16-cv-817-DAE, 2017 WL 1278734 (W.D. Tex. Jan. 3, 2017) ............................................... 47




                                                                              iv
Committee on the Judiciary of the U.S. House of Representatives v. McGahn,
   973 F.3d 121 (D.C. Cir. Aug. 31, 2010), vacated, No. 19-5331 (D.C. Cir. July 13,
   2021)............................................................................................................................................................ 26

Cooper Indus., Inc. v. Aviall Servs., Inc.,
   543 U.S. 157 (2004)................................................................................................................................... 30

Cranor v. 5 Star Nutrition, L.L.C.,
   998 F.3d 686 (5th Cir. 2021).................................................................................................................... 29

Croft v. Governor of Texas,
    562 F.3d 735 (5th Cir. 2009).................................................................................................................... 44

Davis v. Passman,
   442 U.S. 228 (1979)................................................................................................................................... 23

In re Debs,
     158 U.S. 564 (1895)............................................................................................................................. passim

Dentsply Int’l, Inc. v Antitrust Division of the U.S. Dep’t of Justice,
   No. CA 98-693, 1999 WL 33748872 (D. Del. Jan. 5, 1999) ............................................................... 53

Denver & R.G.R. Co. v. United States,
   241 F. 614 (8th Cir. 1917) ........................................................................................................................ 22

Detroit Edison Co. v. NLRB,
    440 U.S. 301 (1979)..................................................................................................................................... 8

Digital Recognition Network, Inc. v. Hutchinson,
    803 F.3d 952 (8th Cir. 2015).................................................................................................................... 26

In re Diocese of Lubbock,
     --- S.W.3d ---, 2021 WL 2386135 (Tex.) ................................................................................................ 51

Dist. 28, United Mine Workers of Am., Inc. v. Wellmore Coal Corp.,
    609 F.2d 1083 (4th Cir. 1979) ................................................................................................................. 10

In re Doe 2,
     19 S.W.3d 278 ............................................................................................................................................ 51

Doran v. Salem Inn, Inc.,
   422 U.S. 922 (1975)................................................................................................................................... 50

eBay Inc. v. MercExchange, L.L.C.,
    547 U.S. 388 (2006)................................................................................................................................... 50

Edgar v. MITE Corp.,
   457 U.S. 624 (1982) (Stevens, J., concurring in part and concurring in the
   judgment) ................................................................................................................................................... 46



                                                                                  v
Elam v. Kansas City S. Ry. Co.,
   635 F3d 796 (5th Cir. 2011)..................................................................................................................... 38

Felder v. Casey,
    487 U.S. 131 (1988)................................................................................................................................... 38

Fenner v. Boykin,
   271 U.S. 240 (1926)................................................................................................................................... 52

Flagg Bros., Inc. v. Brooks,
    436 U.S. 149 (1978)................................................................................................................................... 10

Foy v. Univ. of Tex. at Dall.,
    No. 3:96-cv-3406, 1997 WL 279879 (N.D. Tex. May 13, 1997), aff’d, 146 F.3d
    867 (5th Cir. 1998) (per curiam).............................................................................................................. 47

Freedom From Religion Found., Inc. v. Mack,
    No. 21-20279, 2021 WL 2887861 (5th Cir. July 9, 2021) ............................................................. 27, 28

Garcia v. United States,
   No. 01-cv-801, 2001 WL 34873962 (S.D. Fla. Oct. 29, 2001) ........................................................... 53

In re Gee,
     941 F.3d 153 (5th Cir. 2019)............................................................................................................. 15, 37

Georgia v. City of Chattanooga,
   264 U.S. 472 (1924)............................................................................................................................ 50, 52

Gibson v. Matthews,
    926 F.2d 532 (6th Cir. 1991).................................................................................................................... 41

Gras v. Stevens,
   415 F. Supp. 1148 (S.D.N.Y. 1976) (Friendly, J.) .......................................................................... 10, 12

Green v. Mansour,
    474 U.S. 64 (1985) ..................................................................................................................................... 27

Green Valley Special Util. Dist. v. City of Schertz,
    969 F.3d 460 (5th Cir. 2020) (Oldham, J., concurring) ................................................................ 24, 32

Grupo Mexicano de Desarrollo S.A. v. All. Bond Fund, Inc.,
   527 U.S. 308 (1999)................................................................................................................14, 15, 26, 46

Haggard v. State of Tenn.,
   421 F.2d 1384 (6th Cir. 1970) ................................................................................................................. 15

Haywood v. Drown,
   556 U.S. 729 (2009)................................................................................................................................... 38




                                                                              vi
Hearth, Inc. v. Dep’t of Pub. Welfare,
   617 F.2d 381 (5th Cir. 1980) (per curiam) ............................................................................................. 23

Heideman v. South Salt Lake City,
    348 F.3d 1182 (10th Cir. 2003) ............................................................................................................... 44

Henry v. First Nat’l Bank of Clarksdale,
   444 F.2d 1300 (5th Cir. 1971) ................................................................................................ 2, 10, 11, 17

Hernandez v. Mesa,
   140 S. Ct. 735 (2020).................................................................................................................... 23, 32, 35

Hohe v. Casey,
   868 F.2d 69 (3d Cir. 1989) ....................................................................................................................... 44

Hollingsworth v. Perry,
    570 U.S. 693 (2013)..................................................................................................................................... 8

Hope Medical Group for Women v. Edwards,
   63 F.3d 418 (5th Cir. 1995) ...................................................................................................................... 44

Howlett By and Through Howlett v. Rose,
   496 U.S. 356 (1990)................................................................................................................................... 38

Hu v. Huey,
   325 F. App’x 436 (7th Cir. 2009) (per curiam) ..................................................................................... 10

Int’l Controls & Measurements Corp. v. Watsco, Inc.,
     853 F. Supp. 585 (N.D.N.Y. 1994) ........................................................................................................... 8

J.D. v. Azar,
    925 F.3d 1291 (D.C. Cir. 2019) ............................................................................................................... 41

Jackson Women’s Health Org v. Dobbs,
    945 F.3d 265 (5th Cir. 2019), cert. granted, No. 19-1392, 2021 WL 1951792 (U.S.
    May 17, 2021)............................................................................................................................................. 35

Jinks v. Richland County,
    538 U.S. 456 (2003)................................................................................................................................... 21

Jones v. Wells Fargo Bank, N.A.,
    No. 5-14-cv-943-RP, 2015 WL 12734177 (W.D. Tex. Jan. 21, 2015) (Pitman, J.) .......................... 24

Justice Network Inc. v. Craighead County,
     931 F.3d 753 (8th Cir. 2019).................................................................................................................... 12

In re Justices of Supreme Court of Puerto Rico,
     695 F.2d 17 (1st Cir. 1982) (Breyer, J.) .................................................................................................. 11




                                                                              vii
Lake Shore Asset Mgmt. Ltd. v. Commodity Futures Trading Comm’n,
   511 F.3d 762 (7th Cir. 2007) (Easterbrook, J.) ....................................................................................... 8

Lamar v. 118th Judicial Dist. Court of Tex.,
   440 F.2d 383 (5th Cir. 1971) (per curiam) ............................................................................................. 15

Leavitt v. Jane L.,
   518 U.S. 137 (1996) (per curiam) ..................................................................................................... 55, 56

Lee v. Yee,
    643 F. Supp. 593 (D. Haw. 1986), aff’d sub nom. United States v. Hawaii, 832 F.2d
    1116 (9th Cir. 1987) (per curiam) ........................................................................................................... 22

Lewis v. Young,
   996 F.2d 306, 1993 WL 241788 (5th Cir. 1993) (per curiam)...................................................... 15, 56

Lexmark Int’l, Inc. v. Static Control Components, Inc.,
   572 U.S. 118 (2014)................................................................................................................................... 31

Lion Health Servs., Inc. v. Sebelius,
    635 F.3d 693 (5th Cir. 2011).................................................................................................................... 56

Londono-Rivera v. Virginia,
   155 F. Supp. 2d 551 (E.D. Va. 2001) ..................................................................................................... 16

Louwein v. Moody,
   12 S.W.2d 989 (Tex. Comm’n App. 1929) ............................................................................................ 39

Lugar v. Edmondson Oil Co., Inc.,
   457 U.S. 922 (1982)................................................................................................................................... 10

Madias v. Dearborn Fed. Credit Union,
   916 F. Supp. 659 (E.D. Mich. 1996)....................................................................................................... 49

Mayor, Aldermen & Commonalty of City of New York v. Miln,
   36 U.S. (11 Pet.) 102 (1837) ..................................................................................................................... 18

Mazurek v. Armstrong,
   520 U.S. 968 (1997) (per curiam) ................................................................................................. 3, 27, 37

Mendez v. Heller,
   380 F. Supp. 985 (E.D.N.Y. 1974) (per curiam), aff’d, 530 F.2d 437 (2d Cir.1976) ........... 11, 12, 14

In re Methyl Tertiary Butyl Ether (MTBE) Prods. Liability Litig.,
     725 F.3d 65 (2d Cir. 2013) ....................................................................................................................... 38

Mi Familia Vota v. Abbott,
   977 F.3d 461 (5th Cir. 2020)............................................................................................................. 27, 28




                                                                           viii
Middlebrooks v. Thirteenth Judicial Dist. Circuit Ct.,
   323 F.2d 485 (8th Cir. 1963) (per curiam) ............................................................................................. 16

Milligan, Tr. for Westech Capital Corp. v. Salamone,
    No. 1:18-cv-327-RP, 2019 WL 1208999 (W.D. Tex. Mar. 14, 2019) (Pitman, J.) ............................. 8

Missouri v. Jenkins,
    515 U.S. 70 (1995) ..................................................................................................................................... 56

Moye v. Clerk, DeKalb County Superior Court,
   474 F.2d 1275 (5th Cir. 1973) (per curiam) ........................................................................................... 15

Muskrat v. United States,
   219 U.S. 346 (1911)............................................................................................................................. passim

New York Times Co. v. Sullivan,
   376 U.S. 254 (1964)........................................................................................................................ 1, 51, 54

Nken v. Holder,
   556 U.S. 418 (2009)........................................................................................................................ 6, 55, 57

Norfolk S. Corp. v. Oberly,
   594 F. Supp. 514 (D. Del. 1984) ............................................................................................................. 44

North Dakota v. United States,
   495 U.S. 423 (1990)................................................................................................................................... 39

Novedea Sys., Inc. v. Colaberry, Inc.,
   No. 6:20-cv-180, 2020 WL 9211073 (E.D. Tex. Dec. 11, 2020)........................................................ 24

Ohio v. Yellen,
   No. 1:21-cv-181, 2021 WL 2194219 (S.D. Ohio Apr. 16, 2021) ................................................ 48, 52

Okpalobi v. Foster,
   244 F.3d 405 (5th Cir. 2001) (en banc) ..............................................................................................6, 26

Osterberg v. Peca,
    12 S.W.3d 31 (Tex. 2000) ......................................................................................................................... 40

Oxford Capital Ill., L.L.C. v. Sterling Payroll Fin., L.L.C.,
   No. 1:01-cv-1173, 2002 WL 411553 (N.D. Ill. Mar. 15, 2002) .......................................................... 49

Paisey v. Vitale In & For Broward County,
    807 F.2d 889 (11th Cir. 1986) .......................................................................................................... 11, 17

Palmer v. Jackson,
    617 F.2d 424 (5th Cir. 1980).................................................................................................................... 40




                                                                              ix
Pennsylvania v. New Jersey,
    426 U.S. 660 (1976)................................................................................................................................... 17

Penrod Drilling Corp. v. Williams,
    868 S.W.3d 294 (Tex. 1993) (per curiam) ....................................................................................... 36, 38

Planned Parenthood of Southeastern Pennsylvania v. Casey,
    505 U.S. 833 (1992)...................................................................................................................... 34, 35, 56

Pool v. City of Houston,
    978 F.3d 307 (5th Cir. 2020).................................................................................................................... 49

Preiser v. Rodriguez,
     411 U.S. 475 (1973)............................................................................................................................ 17, 33

Pulliam v. Allen,
    466 U.S. 522 (1984)................................................................................................................11, 12, 14, 15

Pulphus v. Ayers,
    2018 WL 1110678 (D.C. Cir. Feb. 28, 2018) ........................................................................................ 44

R.R. Comm’n v. United States,
   290 S.W.2d 699 (Tex. Civ. App.—Austin 1956), aff’d, 317 S.W.2d 927 (Tex. 1958)....................... 39

Raines v. Byrd,
    521 U.S. 811 (1997)..................................................................................................................................... 6

Regal Knitwear Co. v. NLRB,
    324 U.S. 9 (1945) ...................................................................................................................................9, 13

Return Mail, Inc. v. United States Postal Serv.,
    139 S. Ct. 1853 (2019) .............................................................................................................................. 39

Schweiker v. Chilicky,
    487 U.S. 412 (1988)................................................................................................................................... 27

Scott v. Donald,
     165 U.S. 107 (1897)..................................................................................................................................... 7

Scurlock Permian Corp. v. Brazos Cnty.,
    869 S.W.2d 478 (Tex. App.—Houston [1st Dist.] 1993) (writ denied)............................................. 51

Seila Law LLC v. Consumer Fin. Prot. Bureau,
     140 S. Ct. 2183 (2020) .............................................................................................................................. 56

Seminole Tribe of Florida v. Florida,
   517 U.S. 44 (1996) .............................................................................................................................. 17, 33




                                                                              x
Shelley v. Kraemer,
    334 U.S. 1 (1948) ....................................................................................................................................... 17

Siegel v. LePore,
     234 F.3d 1163 (11th Cir. 2000) ............................................................................................................... 44

Siler v. Storey,
     587 F. Supp. 986 (N.D. Tex. 1984) ........................................................................................................ 16

Slotnick v. Garfinkle,
    632 F.2d 163 (1st Cir. 1980) .................................................................................................................... 10

Spagnola v. Mathis,
    859 F.2d 223 (D.C. Cir. 1988) (en banc)................................................................................................ 27

State v. River Forest Dev. Co.,
    315 S.W.3d 128 (Tex. App.—Houston [1st Dist.] 2010) (Bland, J.) ................................................. 51

State v. Scott,
    460 S.W.2d 103 (Tex. 1970)..................................................................................................................... 51

Steel Co. v. Citizens for a Better Env’t,
     523 U.S. 83 (1998) ....................................................................................................................................... 6

Stevens v. Frick,
    372 F.2d 378 (2d Cir. 1967) ..................................................................................................................... 10

Swearingen v. Keller,
   No. 1:16-cv-1181-LY, ECF 18 (W.D. Tex. July 7, 2017) .................................................................... 16

Tamez v. Chertoff,
   No. 1:08-cv-55, 2008 WL 2214319 (S.D. Tex. Apr. 16, 2008) ........................................................... 53

Tate v. Am. Tugs, Inc.,
    634 F.2d 869 (5th Cir. 1981).................................................................................................................... 47

Teltech Sys., Inc. v. Bryant,
     702 F.3d 232 (5th Cir. 2012).................................................................................................................... 38

Texas v. Department of Labor,
   929 F.3d 205 (5th Cir. 2019)........................................................................................................... 8, 9, 42

Texas v. Florida,
   306 U.S. 398 (1939)................................................................................................................................... 22

Texas v. Ysleta del Sur Pueblo,
   367 F. Supp.3d 596 (W.D. Tex. 2019) ................................................................................................... 24




                                                                               xi
The Real Truth About Obama, Inc. v. FEC,
    2008 WL 4905254 (4th Cir. Oct. 28, 2008) ........................................................................................... 44

TransUnion LLC v. Ramirez,
   141 S. Ct. 2190 (2021) ................................................................................................................................ 6

Travis v. Pennyrile Rural Elec. Co-op.,
    399 F.2d 726 (6th Cir. 1968).................................................................................................................... 50

United States v. California,
   655 F.2d 914 (9th Cir. 1980)............................................................................................................. 22, 25

United States v. City of Jackson,
   318 F.2d 1 (5th Cir. 1963) ........................................................................................................... 16, 21, 30

United States v. City of Philadelphia,
   644 F.2d 187 (3d Cir. 1980) ..................................................................................................23, 25, 30, 31

United States v. County Sch. Bd. of Prince George County,
   221 F. Supp. 93 (E.D. Va. 1963) ............................................................................................................. 25

United States v. Hartford Acc. & Indem. Co.,
   460 F.2d 17 (9th Cir. 1972) ...................................................................................................................... 25

United States v. Madison County Board of Education,
   326 F.2d 237 (5th Cir. 1964).................................................................................................................... 24

United States v. Mattson,
   600 F.2d 1295 (9th Cir. 1979) .......................................................................................................... 30, 31

United States v. Morrison,
   529 U.S. 598 (2000)................................................................................................................................... 21

United States v. Raines,
   362 U.S. 17 (1960) ..................................................................................................................................... 34

United States v. Rural Elec. Convenience Co-op. Co.,
   922 F.2d 429 (7th Cir. 1991).................................................................................................................... 52

United States v. Solomon,
   563 F.2d 1121 (4th Cir. 1977) .......................................................................................................... 21, 29

United States v. United Mine Workers of Am.,
   330 U.S. 258 (1947)................................................................................................................................... 46

United Steelworkers of Am. v. United States,
   80 S. Ct. 177 (1959) (Frankfurter, J., concurring) ................................................................................. 29




                                                                             xii
Viands Concerted, Inc. v. Reser’s Fine Foods, Inc.,
   No. 2:08-cv-914, 2008 WL 4823053 (S.D. Ohio Oct. 31, 2008)........................................................ 47

Victoria W. v. Larpenter,
    369 F.3d 475 (5th Cir. 2004).................................................................................................................... 41

Walmart Inc. v. U.S. Dep’t of Justice,
   No. 4:20-cv-00817, ECF 43 (E.D. Tex. Dec. 4, 2020) ........................................................................ 53

Weinberger v. Romero-Barcelo,
   456 U.S. 305 (1982)................................................................................................................................... 54

Whole Woman’s Health v. Cole,
   790 F.3d 563 (5th Cir. 2015), rev’d on other grounds sub nom. Whole Woman’s Health v.
   Hellerstedt, 136 S. Ct. 2292 (2016) ............................................................................................................ 36

Whole Woman’s Health v. Jackson,
   No. 21-50792, 2021 WL 4128951 (5th Cir. Sept. 10, 2021).......................................................... passim

Whole Woman’s Health v. Jackson,
   No. 21A24, 2021 WL 3910722 (U.S. Sept. 1, 2021) ........................................................................3, 17

Will v. Mich. Dep’t of State Police,
    491 U.S. 58 (1989) .............................................................................................................................. 31, 45

Winter v. Nat. Res. Def. Council, Inc.,
   555 U.S. 7 (2008) ......................................................................................................................................... 3

Wyandotte Transportation Co. v. United States,
   389 U.S. 191 (1967)................................................................................................................................... 29

Ex parte Young,
   209 U.S. 123 (1908)............................................................................................................................. passim

Ex parte Young,
   290 U.S. 123 (1908)................................................................................................................................... 27

Ziglar v. Abbasi,
    137 S. Ct. 1843 (2017) ...........................................................................................................23, 27, 30, 33

Statutes

5 U.S.C. § 702 ..................................................................................................................................................... 6

10 U.S.C. § 1074 ............................................................................................................................................... 41

18 U.S.C. §§ 241–42 ........................................................................................................................................ 31

18 U.S.C. § 248(c)(2)(A) ..............................................................................................................................1, 32



                                                                                xiii
18 U.S.C. § 248(c)(3)(A) .................................................................................................................................. 19

28 U.S.C. § 1257(a) .......................................................................................................................................... 51

42 U.S.C. § 1983 ......................................................................................................................................... passim

42 U.S.C. §§ 2000a-5(a), 2000e-5(f)(1) .......................................................................................................... 32

42 U.S.C. § 2000b(a) ........................................................................................................................................ 33

42 U.S.C. §§ 2000b(a), 2000c-6(a).................................................................................................................... 2

42 U.S.C. § 2000h-2 ......................................................................................................................................... 32

52 U.S.C. §§ 10101(c), 10308(d), 10504, 20510 ........................................................................................... 32

52 U.S.C. § 10701(a)(1) ...............................................................................................................................1, 32

Cal. Bus. & Prof. Code § 865.2 ...................................................................................................................... 43

Tex. Civ. Prac. & Rem. Code § 30.022 .....................................................................................................3, 37

Tex. Civ. Prac. & Rem. Code § 51.012 ......................................................................................................... 51

Tex. Civ. Prac. & Rem. Code §§ 104.001, 104.004 ....................................................................................... 9

Tex. Gov’t Code §§ 22.001(a), 22.007(a) ...................................................................................................... 51

Tex. Gov’t Code § 402.045............................................................................................................................... 9

Tex. Health & Safety Code 171.208(e) ........................................................................................................... 2

Tex. Health & Safety Code §§ 171.008, 245.011(c)(10)–(11) .................................................................... 37

Tex. Health & Safety Code § 171.203 ............................................................................................................. 3

Tex. Health & Safety Code § 171.203(b) ...................................................................................................... 37

Tex. Health & Safety Code § 171.205 ........................................................................................................... 19

Tex. Health & Safety Code § 171.207(a) ...................................................................................................... 28

Tex. Health & Safety Code § 171.208 ............................................................................................................. 3

Tex. Health & Safety Code § 171.208(a) ............................................................................................... 34, 39

Tex. Health & Safety Code §§ 171.208(a), 171.209(b)(2) ........................................................................... 44

Tex. Health & Safety Code § 171.208(d) ...................................................................................................... 46




                                                                              xiv
Tex. Health & Safety Code § 171.208(e)(3) .......................................................................................... 46, 50

Tex. Health & Safety Code § 171.209 .............................................................................................. 35, 37, 51

Texas Health and Safety Code § 171.212 ..................................................................................................... 55

Other Authorities

28 C.F.R. § 551.23 ............................................................................................................................................ 40

Fed. R. App. P. 8 .............................................................................................................................................. 57

Fed. R. Civ. P. 62(c) ......................................................................................................................................... 57

Fed. R. Civ. P. 65(d)(1)...................................................................................................................................... 6

Fed. R. Civ. P. 65(d)(2)................................................................................................................................7, 13

John Harrison, Ex Parte Young, 60 Stan. L. Rev. 989, 999 (2008) ............................................................. 28

Opinion: Why I Violated Texas’s Extreme Abortion Ban (Sept. 18, 2021),
   https://www.washingtonpost .com/opinions/2021/09/18/texas-abortion-
   provider-alan-braid.................................................................................................................................... 36

Restatement (Second) of Agency § 14 (1958) ................................................................................................ 8

Tex. R. Civ. P. 60 ............................................................................................................................................. 52

U.S. Const. amend. XIV, § 5 ............................................................................................................. 18, 23, 31

U.S. Const. amend. XXVI .............................................................................................................................. 32

U.S. Const. art. I, § 8 ................................................................................................................................ 23, 30

U.S. Const. art. VI............................................................................................................................................ 53

U.S. Const. art. VII .......................................................................................................................................... 20




                                                                               xv
                                           INTRODUCTION

        The Court should deny the federal government’s motion for a preliminary injunction and

dismiss this case. Article III does not permit courts to hear “a proceeding against the government in

its sovereign capacity” when “the only judgment required is to settle the doubtful character of the

legislation in question.” Muskrat v. United States, 219 U.S. 346, 361–62 (1911).

        Disregarding this jurisdictional defect, the federal government seeks extraordinary relief—an

injunction against non-party private individuals and state judges—without even identifying a cause of

action. Congress has created numerous specific causes of action for the Attorney General, but not

one applies here. Congress has created causes of action for the Attorney General to enforce various

constitutional rights, see, e.g., 52 U.S.C. § 10701(a)(1), and statutory abortion rights under the Freedom

of Access to Clinic Entrances Act, see 18 U.S.C. § 248(c)(2)(A). But Congress has never created a cause

of action to enforce a constitutional right to abortion. Instead, it has repeatedly refused to create a

broader cause of action for the Attorney General.

        The federal government asks the Court to dispense with the normal cause-of-action

requirement based on unfounded fears that the Texas Heartbeat Act will otherwise “evade judicial

review.” Nothing could be further from the truth. The constitutionality of the Texas Heartbeat Act

can be reviewed in the same way that virtually all of state tort law is: State-court defendants raise

constitutional defenses before neutral judges sworn to follow the U.S. Constitution and, if necessary,

appeal to the U.S. Supreme Court. See, e.g., New York Times Co. v. Sullivan, 376 U.S. 254 (1964).

        True, some abortion providers might prefer to be federal-court plaintiffs rather than state-

court defendants, but that preference is not a constitutional right. It is also an issue that Congress has

already considered. The Attorney General has statutory causes of action to enforce certain Fourteenth

Amendment rights if he concludes that the affected individuals “are unable . . . to initiate and maintain

appropriate legal proceedings.” 42 U.S.C. §§ 2000b(a), 2000c-6(a). But those causes of action are



                                                    1
limited to equal protection rights. Congress’s detailed cause-of-action scheme precludes the Attorney

General from bringing this suit to enforce a constitutional right to abortion.

        The federal government also asks this Court to disregard the standard limitations on injunctive

relief. Effectively conceding that an injunction against the State would be useless—because the State

does not enforce the Heartbeat Act—the federal government seeks an injunction running against two

groups of non-parties: (1) private individuals who might bring heartbeat suits and (2) state courts that

might adjudicate those suits. Binding precedent forecloses both options.

        The Court cannot decide that absent third parties are subject to an injunction without letting

them be heard. And “an injunction against a state court would be a violation of the whole scheme of

our government.” Ex parte Young, 209 U.S. 123, 163 (1908). As the Fifth Circuit recently held, “[i]t is

absurd to contend . . . that the way to challenge an unfavorable state law is to sue state court judges,

who are bound to follow not only state law but the U.S. Constitution and federal law.” Whole Woman’s

Health v. Jackson, No. 21-50792, 2021 WL 4128951, at *5 (5th Cir. Sept. 10, 2021).

        What is worse, the federal government asks the Court to overcome all of these hurdles in

order to issues an ineffective injunction against a valid law. According to the federal government,

abortion providers are “chilled” by the prospect of future liability in state court. But on these facts, a

preliminary injunction would not “unchill” abortion providers. In light of the strong possibility that

any preliminary injunction would eventually be stayed or reversed, allowing heartbeat suits in state

court to proceed, abortion providers would still face the prospect of future liability. See Tex. Tex.

Health & Safety Code 171.208(e). In this case—where the alleged irreparable harm flows from the

mere prospect of future liability—a preliminary injunction would not help.

        Finally, the Texas Heartbeat Act is constitutional. Even the federal government does not

challenge the constitutionality of many provisions in the Heartbeat Act. No one disputes the

constitutionality of requiring doctors to determine “whether the woman’s unborn child has a



                                                    2
detectable fetal heartbeat. Tex. Health & Safety Code § 171.203. No one disputes the constitutionality

of the provision governing attorney’s fees. See Tex. Civ. Prac. & Rem. Code § 30.022. The federal

government’s challenge is limited to the provision authorizing private causes of action, see Tex. Health

& Safety Code § 171.208, but even that argument is limited to the statute’s pre-viability applications.

The federal government raises no argument that Texas cannot authorize heartbeat suits for post-

viability abortions. In any event, the Heartbeat Act cannot violate Supreme Court precedent because

it incorporates the Court’s “undue burden” test as a defense.

        In the end, the motion for a preliminary injunction “presents complex and novel antecedent

procedural questions on which [the federal government has] not carried [its] burden.” Whole Woman’s

Health v. Jackson, No. 21A24, 2021 WL 3910722, at *1 (U.S. Sept. 1, 2021). As a result, the Court

“cannot say” that the federal government has “met [its] burden to prevail [on] an injunction.” Id.

                                               STANDARD

        “A plaintiff seeking a preliminary injunction must establish that he is likely to succeed on the

merits, that he is likely to suffer irreparable harm in the absence of preliminary relief, that the balance

of equities tips in his favor, and that an injunction is in the public interest.” Winter v. Nat. Res. Def.

Council, Inc., 555 U.S. 7, 20 (2008). “It frequently is observed that a preliminary injunction is an

extraordinary and drastic remedy, one that should not be granted unless the movant, by a clear showing,

carries the burden of persuasion.” Mazurek v. Armstrong, 520 U.S. 968, 972 (1997) (per curiam).

        “To survive a motion to dismiss, a complaint must contain sufficient factual matter, accepted

as true, to state a claim to relief that is plausible on its face. A claim has facial plausibility when the

plaintiff pleads factual content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (cleaned up).

                                              ARGUMENT

        The Court should dismiss this case because it lacks subject-matter jurisdiction and because the



                                                    3
federal government lacks a cause of action. The Court should deny preliminary injunctive relief for

additional reasons: The federal government has not clearly shown that the Texas Heartbeat Act is

unconstitutional, that a preliminary injunction would remedy irreparable harm, or that the balance of

equities and public interest favor extraordinary relief.

I.      The Federal Government Lacks the Power to Sue Texas for the Requested Relief

        A.      There Is No Justiciable Controversy between the Federal Government and
                Texas

        This is not an Article III case or controversy. No federal court can hear a case to determine

the constitutionality of a statute that the sovereign defendant is not enforcing. The fact that private

parties may rely on the challenged statute in other litigation does not create a case or controversy

against the sovereign. It simply shows that those other cases would be the proper cases for deciding

the constitutionality of the challenged statute.

        That is the holding of Muskrat v. United States, in which the Supreme Court considered a series

of federal statutes affecting property rights of particular Indians. 219 U.S. 346 (1911). The first statute

gave a defined group of Indians property rights in certain tribal assets, including lands. Subsequent

federal statutes reduced those rights. Congress then created a new cause of action allowing Indians

injured by the subsequent statutes to sue the federal government “to determine the validity of [those

subsequent] acts of Congress.” Id. at 349–50.

        The Indian plaintiffs filed suit, just as Congress invited. They sought “to restrain the

enforcement of [the challenged statutes] upon the ground that [they were] unconstitutional and void.”

Id. at 349. There was no doubt that the challenged statutes injured the plaintiffs’ property interests.

Those statutes “attempt[ed] to increase or extend the restrictions upon alienation, encumbrance, or

the right to lease the allotments of lands” and “increase[d] the number of persons entitled to share in

the final distribution of lands and funds.” Id. at 360.

        Nevertheless, the Supreme Court held that the suit was not “a ‘case’ or ‘controversy,’ to which,


                                                    4
under the Constitution of the United States, the judicial power alone extends.” Id. at 361. The federal

government, though “made a defendant,” had “no interest adverse to the claimants.” Id. at 361. The

plaintiffs were not demanding that the government cease some enforcement action. They wanted “to

determine the constitutional validity of this class of legislation.” Id. But federal courts cannot entertain

“a proceeding against the government in its sovereign capacity” when “the only judgment required is

to settle the doubtful character of the legislation in question.” Id. at 361–62. Such a judgment would

not even have bound “private parties, when actual litigation brings to the court the question of the

constitutionality of such legislation.” Id. at 362. Thus, the suit was “not judicial in its nature within the

meaning of the Constitution.” Id.

        Of course, the Court was willing to hear subsequent suits involving private parties. “The

questions involved in this proceeding as to the validity of the legislation may arise in suits between

individuals, and when they do and are properly brought before this court for consideration they, of

course, must be determined in the exercise of its judicial functions.” Id. But the interest in more quickly

deciding “the constitutionality of important legislation” could not outweigh the Article III limitations

on federal court jurisdiction.

        Muskrat controls here. If the Muskrat plaintiffs could not sue a sovereign to challenge the

constitutionality of laws enforced through private litigation, then neither can the federal government

here sue Texas to challenge the Heartbeat Act. A sovereign’s interest in the constitutionality of its

laws, standing alone, does not make it a proper defendant. Nor does the fact that private parties will

rely on those laws in other cases, even when those cases will be litigated in the sovereign defendant’s

courts. Indeed, that is especially so because, unlike the United States here, the Muskrat plaintiffs at

least had cognizable injuries and an express cause of action. Cf. infra Part I.C–D.

        There is no doubt that Muskrat remains good law. The Supreme Court cites it in major cases

about federal jurisdiction. See, e.g., TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2205 (2021); Steel Co. v.



                                                     5
Citizens for a Better Env’t, 523 U.S. 83, 101–02 (1998); Raines v. Byrd, 521 U.S. 811, 819 (1997).

        In fact, the Fifth Circuit expressly relied on Muskrat when it held that federal courts lacked

jurisdiction to hear a challenge to Louisiana’s statute providing “a private cause of action against

medical doctors performing abortions.” Okpalobi v. Foster, 244 F.3d 405, 409 (5th Cir. 2001) (en banc).

The court described Muskrat as “holding that the United States as defendant had no interest adverse

to the claimants.” Okpalobi, 244 F.3d at 426 (citing Muskrat, 219 U.S. 346). The same is true of Texas

here. Any injury is not traceable to or redressable by any future action by the State. Thus, this is not a

case or controversy that can support the exercise of federal jurisdiction.

        B.       The Federal Government Cannot Obtain Relief against State Courts, Much
                 Less Private Individuals

        Any injunction must explain who must act or refrain from acting. After all, “an injunction is a

judicial process or mandate operating in personam.” Nken v. Holder, 556 U.S. 418, 428 (2009). It therefore

must “direct[] the conduct of a particular actor.” Id.

        The federal government is trying to avoid this inherent limitation on injunctive relief by asking

for relief against “the State of Texas.” ECF 6-2. Of course, when the shoe is on the other foot, the

federal government insists that any injunction “entered against the United States . . . shall specify the

Federal officer or officers . . . personally responsible for compliance.” 5 U.S.C. § 702. That makes

sense. Without clarity about who is supposed to do what, a defendant cannot ensure compliance with

an injunction. That is why “[e]very order granting an injunction . . . must . . . state its terms specifically;

and describe in reasonable detail . . . the act or acts restrained or required.” Fed. R. Civ. P. 65(d)(1).

        In this case, any injunction would have to specify which Texas officials are supposed to refrain

from enforcing the Texas Heartbeat Act. The federal government offers only two possibilities:

(1) private individuals who bring suit under the Heartbeat Act, or (2) the state courts that adjudicate

those lawsuits. This Court cannot order relief against either group.




                                                      6
                        1. This Court Cannot Enjoin Private Non-Parties

        The federal government would have this Court enjoin private third parties from filing

heartbeat suits in state court, but they are not parties to this case. An “injunction is overbroad” if “it

attempts to affect rights between [a party] and [others] who [are] not parties to the action.” Bethell v.

Peace, 441 F.2d 495, 498 (5th Cir. 1971); see also Scott v. Donald, 165 U.S. 107, 117 (1897) (“The decree

is also objectionable because it enjoins persons not parties to the suit.”).

        In an effort to avoid the due process problems with enjoining non-parties, the federal

government argues that private potential plaintiffs are either “agents” of the State or “in active

concert” with the State and thus bound by a judgment against the State. Fed. R. Civ. P. 65(d)(2). That

question is not properly before the Court, but in any event, private would-be plaintiffs are not

connected to the State and therefore cannot be enjoined.

        First, third parties have a right to be heard on whether they are “agents” or “in active concert,”

so the Court cannot decide that question without their participation. Even when a party and a non-

party are obviously related, as with parent and subsidiary corporations, the non-party cannot be named

in an injunction without first being heard. In Zenith Radio Corp. v. Hazeltine Research, Inc., the parties

“stipulated that ‘for purposes of this litigation [HRI] and its parent Hazeltine Corporation will be

considered to be one and the same company.” 395 U.S. 100, 109 (1969). Relying on that stipulation,

the district court issued an injunction against HRI, which was a party to the litigation, as well as

Hazeltine, which was not. See id. The Supreme Court “vacat[ed] the judgments against Hazeltine.” Id.

at 110. Although injunctions can bind “those persons ‘in active concert or participation with’” the

parties, “[i]t was error to enter the injunction against Hazeltine, without having made this

determination in a proceeding to which Hazeltine was a party.” Id. at 112.

        “[W]hether a particular person or firm is among the ‘parties’ officers, agents, servants,

employees, and attorneys; [or] other persons in active concert or participation with’ them is a decision



                                                    7
that may be made only after the person in question is given notice and an opportunity to be heard.”

Lake Shore Asset Mgmt. Ltd. v. Commodity Futures Trading Comm’n, 511 F.3d 762, 767 (7th Cir. 2007)

(Easterbrook, J.) (quoting Fed. R. Civ. P. 65(d)(2)). Thus, an injunction purporting to bind non-parties

would be ineffective. See Detroit Edison Co. v. NLRB, 440 U.S. 301, 315–16 (1979) (noting “substantial

doubt whether the Union would be subject to a contempt citation were it to ignore the restrictions”).

A court “cannot lawfully enjoin the world at large, no matter how broadly it words its decree. If it

assumes to do so, the decree is pro tanto brutum fulmen [to that extent ineffectual], and the persons

enjoined are free to ignore it.” Alemite Mfg. Corp. v. Staff, 42 F.2d 832, 832 (2d Cir. 1930) (Hand, J.).

        Second, the federal government asserts, in a footnote and without any supporting citation,

that “the individuals who file suits under S.B. 8 should be considered ‘agents’ of the State under Rule

65.” ECF 6-1 at 31 n.13. The federal government has forfeited that argument because it “has not

adequately briefed it.” Milligan, Tr. for Westech Capital Corp. v. Salamone, No. 1:18-cv-327-RP, 2019 WL

1208999, at *6 n.7 (W.D. Tex. Mar. 14, 2019) (Pitman, J.) (citing Audler v. CBC Innovis Inc., 519 F.3d

239, 255 (5th Cir. 2008)). Even if it were properly presented, it would be wrong. Private parties “are

plainly not agents of the State” even when they have an interest in defending the constitutionality of

state law. Hollingsworth v. Perry, 570 U.S. 693, 713 (2013). A private plaintiff bringing a heartbeat suit

cannot be Texas’s agent because Texas lacks “the right to control the conduct of” that private plaintiff.

Restatement (Second) of Agency § 14 (1958). This is a far cry from the type of agency relationship

required by Rule 65. See, e.g., Int’l Controls & Measurements Corp. v. Watsco, Inc., 853 F. Supp. 585, 589

(N.D.N.Y. 1994) (subsidiary not agent of parent corporation).

        Third, private parties are not “in active concert” with the State. The Fifth Circuit rejected the

federal government’s theory in Texas v. Department of Labor, 929 F.3d 205 (5th Cir. 2019). In that case,

the Department of Labor (“DOL”) was enjoined from enforcing one of its rules regulating overtime.

See Texas, 929 F.3d at 207. The rule itself, however, remained in effect, and a private plaintiff sought



                                                     8
to enforce the rule against her employer. See id. The district court that had enjoined DOL held the

employee in contempt, but the Fifth Circuit reversed. See id. at 214. DOL could not have “adequately

represented [the employee’s] interests” because there was no “legal relationship” making DOL

“accountable to” the employee. Id. at 211. Further, DOL could not adequately represent private

employees because the Fair Labor Standards Act (“FLSA”) “explicitly establishes a private right of

action” allowing employees to sue. Id. at 212. The Fifth Circuit expressly rejected the theory that

“DOL represents every worker’s legal interests through its enforcement of the FLSA so as to bind

every worker in the United States to an injunction where the DOL is the only bound party.” Id. at 213.

        So too here. Texas has no legal relationship with absent third parties, and Texas does not

represent the interests of those who would bring private causes of action. See ECF 28. Relatedly, the

Texas Attorney General is generally not authorized to represent private individuals. See Tex. Civ. Prac.

& Rem. Code §§ 104.001, 104.004; Tex. Gov’t Code § 402.045.

        “In essence,” Rule 65(d) prevents defendants from “nullify[ing] a decree by carrying out

prohibited acts through aiders and abettors,” Regal Knitwear Co. v. NLRB, 324 U.S. 9, 14 (1945), but

even the federal government does not contend that private individuals are Texas’s “aiders and

abettors.” If a private individual files a heartbeat lawsuit in state court, that individual has not “helped

to bring about . . . an act of a party,” which is the only thing the Court “has power to forbid.” Alemite

Mfg. Corp., 42 F.2d at 833.

        In the end, the federal government effectively asks this Court to enjoin “‘all persons to whom

notice of the order of injunction should come,” but such an overbroad injunction would be “clearly

erroneous.” Chase Nat. Bank v. City of Norwalk, 291 U.S. 431, 436 (1934). The Court cannot “make

punishable as a contempt the conduct of persons who act independently and whose rights have not




                                                     9
been adjudged according to law.” Id. at 437 (citing Alemite Mfg. Corp., 42 F.2d at 832). 1

                  2.       This Court Cannot Enjoin Texas Courts

         The federal government invites the Court to “specify that [an injunction] runs to the state

judiciary,” ECF 6-1 at 31, but that “would be a violation of the whole scheme of our government.”

Ex parte Young, 209 U.S. 123, 163 (1908). Even as it recognized a federal court’s power to enjoin state

executive officials “from commencing suits” in state courts, the Supreme Court cautioned that such

authority “does not include the power to restrain a court from acting in any case brought before it.”

Id. “The difference between the power to enjoin an individual from doing certain things, and the

power to enjoin courts from proceeding in their own way to exercise jurisdiction, is plain, and no

power to do the latter exists because of a power to do the former.” Id.

         The Fifth Circuit has long rejected lawsuits against state judges. “The case or controversy

requirement of Article III of the Constitution requires a plaintiff to show that he and the defendants

have adverse legal interests,” but “[t]he requirement of a justiciable controversy is not satisfied where

a judge acts in his adjudicatory capacity.” Bauer v. Texas, 341 F.3d 352, 359 (5th Cir. 2003).

         Confirming that this rule applies here, the Fifth Circuit recently held that plaintiffs challenging

the Heartbeat Act were “not ‘adverse’ to the state judges.” Whole Woman’s Health v. Jackson, No. 21-

50792, 2021 WL 4128951, at *5 (5th Cir. Sept. 10, 2021) (quoting Bauer, 341 F.3d at 359). “When

acting in their adjudicatory capacity, judges are disinterested neutrals who lack a personal interest in


1 The federal government contends that “individuals who file suits under S.B. 8 are properly considered state
actors,” ECF 6-1 at 31 n.19, but even when “the State [is] responsible for [a] statute,” “[a]ction by a private
party pursuant to [the] statute, without something more, [is] not sufficient to justify a characterization of that
party as a ‘state actor.’” Lugar v. Edmondson Oil Co., Inc., 457 U.S. 922, 938–39 (1982) (describing Flagg Bros., Inc.
v. Brooks, 436 U.S. 149, 155 (1978)). “[T]here is no ‘state action’ to be found in the mere filing of a private civil
tort action in state court.” Henry v. First Nat’l Bank of Clarksdale, 444 F.2d 1300, 1312 (5th Cir. 1971); see also
Slotnick v. Garfinkle, 632 F.2d 163, 166 (1st Cir. 1980); Stevens v. Frick, 372 F.2d 378, 381 (2d Cir. 1967); Dist. 28,
United Mine Workers of Am., Inc. v. Wellmore Coal Corp., 609 F.2d 1083, 1086 (4th Cir. 1979); Hu v. Huey, 325 F.
App’x 436, 440 (7th Cir. 2009) (per curiam); Gras v. Stevens, 415 F. Supp. 1148, 1152 (S.D.N.Y. 1976) (three-
judge district court) (Friendly, J.). But even if private individuals qualified as state actors, that would not allow
the Court to enjoin them as non-parties for the reasons explained above.



                                                          10
the outcome of the controversy.” Id. “It is absurd to contend, as Plaintiffs do, that the way to challenge

an unfavorable state law is to sue state court judges, who are bound to follow not only state law but

the U.S. Constitution and federal law.” Id.

        In light of that obligation, neither the federal government nor any potential state-court

defendant can show a “certainly impending” injury traceable to state courts. Clapper v. Amnesty Int’l USA,

568 U.S. 398, 409 (2013). Whether any given state court will find the defendant liable is a matter of

pure speculation. If a state-court defendant presented a meritorious constitutional defense, then the

state judge would be duty-bound to dismiss the case. The federal government presents no evidence

suggesting that state judges will fail to do so. Moreover, in light of a state judge’s obligation not to

prejudge cases, each judge lacks the adverse interests necessary to support federal jurisdiction at this

time, even if at some later time that judge might rule as the federal government fears.

        The other federal courts to consider this question have reached the same conclusion. As now-

Justice Breyer wrote for the First Circuit, “at least ordinarily, no ‘case or controversy’ exists between

a judge who adjudicates claims under a statute and a litigant who attacks the constitutionality of the

statute.” In re Justices of Supreme Court of Puerto Rico, 695 F.2d 17, 21 (1st Cir. 1982) (Breyer, J.). The

Supreme Court and the Fifth Circuit have approved that ruling. See Pulliam v. Allen, 466 U.S. 522, 538

n.18 (1984) (citing In re Justices of Supreme Court of Puerto Rico, 695 F.2d 17); Bauer, 341 F.3d at 361 (same).

        Similarly, the Eleventh Circuit affirmed the denial of a preliminary injunction against a state

judge in Paisey v. Vitale In & For Broward County, 807 F.2d 889 (11th Cir. 1986). Relying on the Fifth

Circuit’s decision in Henry, the court rejected as “without merit” the federal-court plaintiff’s argument

that “[a state judge’s] action in hearing [the state-court plaintiff’s] lawsuit . . . violates his federal

rights.” Id. at 893. There was “absolutely no basis for alleging action under color of state law merely

by virtue of the fact the Florida state courts [were] adjudicating [the] controversy.” Id. at 894–95.

        In Mendez v. Heller, the court held that a state judge did not “have an interest adverse to [the



                                                      11
plaintiff’s] in the determination of the” constitutionality of a state statute because he was “a judicial

officer bound to decide the issue according to the law as he finds it.” 380 F. Supp. 985, 990 (E.D.N.Y.

1974), aff’d, 530 F.2d 437, 459 (2d Cir.1976). “The critical difficulty” preventing federal jurisdiction

was “that any action that [the state judges] could take . . . would necessarily be a judicial

determination,” meaning “the essential quality of adverseness is intrinsically absent.” Id. at 993.

        Judge Friendly similarly explained that a plaintiff challenging the constitutionality of a state

statute could not sue state judges because any relevant actions they took would “be in their capacity

as judges who, like [federal judges], have taken an oath or affirmation to support the Constitution of

the United States.” Gras v. Stevens, 415 F. Supp. 1148, 1151 (S.D.N.Y. 1976) (three-judge district court).

“If [the plaintiff was] right in thinking that” the challenged law was unconstitutional, then the state

judges would be “as bound to strike it down as [federal judges] are.” Id.

        Ignoring this on-point caselaw, the federal government cites Pulliam for the proposition that

judicial immunity does not bar injunctive relief against a judge. That is irrelevant. Judicial immunity is

not the only barrier to issuing injunctive relief against a judge. As Pulliam itself recognized, “Article III

also imposes limitations on the availability of injunctive relief against a judge.” Pulliam, 466 U.S. at 538

n.18. Those Article III limitations are what the cases cited above applied. 2

        Effectively conceding the impropriety of suing a judge directly, the federal government suggests

it can sue a judge indirectly: “Even if a suit directly against a judge could not proceed, this is a suit

against Texas, including its officers, employees, and agents.” ECF 6-1 at 32 n.14. Under Muskrat,

though, a judgment against a sovereign defendant does not bind that sovereign’s courts in future



2It is worth noting that Congress thought Pulliam was wrong about judicial immunity. “Congress responded to
Pulliam in 1996 by amending § 1983 to abrogate its holding.” Justice Network Inc. v. Craighead County, 931 F.3d
753, 763 (8th Cir. 2019). “The Senate report indicates that the amendment ‘restores the doctrine of judicial
immunity to the status it occupied prior to . . . Pulliam’ because Pulliam had departed from ‘400 years of
common-law tradition and weakened judicial immunity protections.’” Id. at 763 n.6 (quoting S. Rep. 104-366,
at *36–37, 1996 U.S.C.C.A.N. 4202, 4216).



                                                      12
litigation. The Supreme Court explained that “a proceeding against the government in its sovereign

capacity” to determine the constitutionality of its legislation would not resolve the issue for “private

parties, when actual litigation brings to the court the question of the constitutionality of such

legislation.” Muskrat, 219 U.S. at 361–62. That makes sense only if the federal courts hearing such

claims would not have been bound by a judgment against the United States. By analogy, then, an

injunction against Texas in this case would not bind state courts hearing heartbeat lawsuits.

        In any event, the federal government gets things precisely backward. There are more hurdles,

not fewer, to enjoining those who are not named as defendants. As explained above, this Court cannot

pre-decide that judicial officials are within the scope of Rule 65(d)(2)—and would therefore be subject

to any injunction issued against Texas—when they are not parties to this case. See supra Part I.B.1.

        Moreover, judicial officials are not within the scope of Rule 65(d)(2) and would not be covered

by an any injunction issued against Texas. Judicial officials are not “aiders and abettors” of Texas.

Regal Knitwear Co., 324 U.S. at 14. On the contrary, they are “acting in their adjudicatory capacity” as

“disinterested neutrals who lack a personal interest in the outcome of the controversy.” Whole Woman’s

Health v. Jackson, No. 21-50792, 2021 WL 4128951, at *5 (5th Cir. Sept. 10, 2021).

        The federal government next proposes that, even if the Court cannot enjoin state judges, it

could enjoin state court clerks, see ECF 6-1 at 32, but federal courts cannot enjoin any part of the state

judiciary from adjudicating claims. The Supreme Court itself rejected the contention that a federal

court would have “power to prevent any investigation or action by a grand jury” because a grand jury

“is part of the machinery of a criminal court, and an injunction against a state court would be a

violation of the whole scheme of our government.” Ex parte Young, 209 U.S. at 163.

        The Fifth Circuit also rejected the federal government’s theory just a few weeks ago. A clerk’s

“duty within the court is to accept and file papers in lawsuits, not to classify ‘acceptable’ pleadings.

Accordingly, the clerks are improper defendants against whom injunctive relief would be



                                                   13
meaningless.” Id. The federal government’s argument does nothing to dispel the “grave doubts that

the clerks of various courts have a real interest in defending” actions taken by the courts because “their

job [is] primarily ministerial.” Cavett v. Ellis, 578 F.2d 567, 570 n.6 (5th Cir. 1978); see also Mendez v.

Heller, 380 F. Supp. 985, 990 (E.D.N.Y. 1974) (per curiam) (ruling that “the Clerk of the Marital Part

has no adversary interest” because “if the complaint is one that the Court, State or Federal, advises

him is properly to be entertained and filed, it is his duty to file it”), aff’d, 530 F.2d 437, 460 (2d Cir.1976)

(concluding the clerk “is not an appropriate defendant”).

        In addition, injunctive relief against state courts is barred because such an injunction was

“unknown to equity jurisprudence” before 1789. Grupo Mexicano de Desarrollo S.A. v. All. Bond Fund,

Inc., 527 U.S. 308, 332 (1999). “[T]he equitable powers conferred by the Judiciary Act of 1789 did not

include the power to create remedies previously unknown to equity jurisprudence.” Id. Thus, this

Court must ask “whether the relief [the federal government] requested here was traditionally accorded

by courts of equity.” Id. at 319. The Supreme Court has already supplied the answer: No.

        “At the common law itself, there was no such thing as an injunction against a judge. Injunctive

relief was an equitable remedy that could be awarded by the Chancellor only against the parties in

proceedings before other courts.” Pulliam, 466 U.S. at 529 (citing 2 J. Story, Equity Jurisprudence ¶

875, p. 72 (11th ed. 1873)). The Pulliam majority and dissent were in agreement on this point: “[S]uits

for injunctive relief against a judge could not be maintained either at English common law or in the

English courts of equity.” Id. at 549 (Powell, J., dissenting). The source on which both relied—Joseph

Story’s famous treatise on equity—could hardly be clearer or more authoritative:

        A writ of injunction is in no just sense a prohibition to those courts in the exercise of
        their jurisdiction. It is not addressed to those courts. It does not even affect to interfere
        with them. The process, when its object is to restrain proceedings at law, is directed




                                                      14
        only to the parties. 3

        That Pulliam itself contemplated injunctive relief against a judge “under § 1 of the Civil Rights

Act of 1871, as amended, 42 U.S.C. § 1983,” 466 U.S. at 524, does not undermine the Grupo Mexicano

limitation on injunctive relief available under “[t]he Judiciary Act of 1789.” 527 U.S. at 318. Grupo

Mexicano itself distinguished between “the Court’s general equitable powers under the Judiciary Act of

1789” and “its powers under [a] statute authorizing issuance of [specific] injunctions.” Id. at 326.

        Confirming these limits on injunctive relief are related limits on the writ of prohibition.

Historically, the writ of prohibition has been used “to control inferior courts,” Pulliam, 466 U.S. at 532

n.6, but federal courts cannot issue the writ to control state courts.

        In “modern practice,” courts usually “do not distinguish between mandamus and prohibition.”

In re Gee, 941 F.3d 153, 158 n.2 (5th Cir. 2019). Thus, the Fifth Circuit precedent forbidding writs of

mandamus to a state court also forbids writs of prohibition. “[F]ederal courts have no general power

to issue writs of mandamus to direct state courts and their judicial officers in the performance of their

duties where mandamus is the only relief sought.” Lamar v. 118th Judicial Dist. Court of Tex., 440 F.2d

383, 384 (5th Cir. 1971) (per curiam); see also Moye v. Clerk, DeKalb County Superior Court, 474 F.2d 1275,

1276 (5th Cir. 1973) (per curiam) (“[A] federal court lacks the general power to issue writs of

mandamus to direct state courts and their judicial officers in the performance of their duties where

mandamus is the only relief sought.”); Lewis v. Young, 996 F.2d 306, 1993 WL 241788, at *1 (5th Cir.

1993) (per curiam). Other courts agree. “[F]ederal courts have no authority to issue writs of mandamus

to direct state courts or their judicial officers in the performance of their duties.” Haggard v. State of

Tenn., 421 F.2d 1384, 1386 (6th Cir. 1970). “The federal courts are without power to issue writs of

mandamus to direct state courts or their judicial officers in the performance of their duties.” Clark v.



32 Joseph Story, Commentaries on Equity Jurisprudence at 166 § 575 (1836), available at https://www.google.
com/books/edition/Commentaries_on_Equity_Jurisprudence_as/u7E-_kNzfCgC?hl.



                                                    15
State of Wash., 366 F.2d 678, 681 (9th Cir. 1966). This Court even dismissed “as frivolous” a complaint

“equivalent [to] a petition for mandamus relief because it request[ed] this court to direct the state

court.” Swearingen v. Keller, No. 1:16-cv-1181-LY, ECF 18 at 7–8 (W.D. Tex. July 7, 2017).

        When federal courts consider prohibition separately from mandamus, they still refuse to issue

writs of prohibition to state courts. Prohibition “is not an appropriate remedy to control jurisdiction

of other, nonsubordinate courts.” Siler v. Storey, 587 F. Supp. 986, 987 (N.D. Tex. 1984). Thus, “a

federal district court cannot issue a writ to a state court.” Londono-Rivera v. Virginia, 155 F. Supp. 2d

551, 559 n.1 (E.D. Va. 2001); see Middlebrooks v. Thirteenth Judicial Dist. Circuit Ct., 323 F.2d 485, 486

(8th Cir. 1963) (per curiam) (“Since we have no power to review and correct any order or judgment

of the state court, we cannot issue writs in potential control or supervision as to such a power.”). This

limit on federal judicial authority has been known since the beginning of our country. 4

        Finally, even if injunctive relief against state courts were otherwise proper—it is not—it would

run afoul of congressionally placed limits on injunctive relief. When Congress created a cause of action

for the redress of constitutional violations, it specifically forbade injunctive relief against state judges.

“[I]n any action brought against a judicial officer for an act or omission taken in such officer’s judicial

capacity, injunctive relief shall not be granted unless a declaratory decree was violated or declaratory

relief was unavailable.” 42 U.S.C. § 1983; see Whole Woman’s Health v. Jackson, 21-50792, 2021 WL

4128951, at *5 (5th Cir. Sept. 10, 2021). To be sure, the federal government is not proceeding under

Section 1983, albeit because it is not authorized to do so. See United States v. City of Jackson, 318 F.2d 1,

8 (5th Cir. 1963). But Section 1983 still evinces congressional policy. “[T]he fact that Congress chose

to” forbid injunctive relief against state courts in Section 1983 “strongly indicates that Congress had



4See Letter from Alexander J. Dallas, the first reporter of Supreme Court decisions, to Thomas Jefferson (Feb.
13, 1805), transcript available at https://founders.archives.gov/documents/Jefferson/99-01-02-1147 and
scanned image available at https://www.loc.gov/resource/mtj1.032_0499_0502/ (arguing that federal courts
cannot issue writs of prohibition to start courts).



                                                     16
no wish to create” the opportunity for such injunctive relief in a suit it has not authorized at all. Seminole

Tribe of Florida v. Florida, 517 U.S. 44, 75–76 (1996); see infra Part I.D (explaining that Congress has not

authorized the Department of Justice to bring this suit). “It would wholly frustrate explicit

congressional intent to hold that the” federal government “could evade this” limitation on injunctive

relief “by the simple expedient of putting a different label on [its] pleadings.” Preiser v. Rodriguez, 411

U.S. 475, 489–90 (1973) (preventing state prisoner plaintiffs from evading the exhaustion requirement

of habeas claims by bringing Section 1983 claims instead).

        Against all of this authority, the federal government relies on Shelley v. Kraemer, 334 U.S. 1

(1948), see 6-1 at 31–32, but Shelley found state action “only after a final judgment or otherwise

dispositive order on the merits had been rendered by the state court,” not in the mere adjudication of

a case. Henry, 444 F.2d at 1309 (footnote omitted) (distinguishing Shelley); Paisey, 807 F.2d at 893

(same). Shelley therefore cannot support a claim for injunctive relief before any judgment has issued,

especially because the substance of any future judgment is, at this point, a matter of speculation.

Further, Shelley’s procedural posture illustrates how review of state-court action is supposed to work.

The Supreme Court granted certiorari to review the judgments of two state supreme courts that

adjudicated the rights of private litigants. See Shelley, 334 U.S. at 4–6. Even Shelley did not contemplate

a federal-court injunction against a state-court judge.

        C.      The Federal Government Is Not Injured

        The federal government had no apparent interest in challenging the Texas Heartbeat Act until

the Supreme Court denied private plaintiffs’ motion for an injunction pending appeal. See Whole

Woman’s Health, 2021 WL 3910722, at *1. It now forthrightly argues that “jurisdictional obstacles to

the ability of women and providers to sue to protect their rights” justify its decision to sue Texas. ECF

6-1 at 1. That is fatal to its standing because “settled doctrine” holds that a sovereign plaintiff lacks

standing where it is “merely litigating as volunteer the personal claims of its citizens.” Pennsylvania v.



                                                     17
New Jersey, 426 U.S. 660, 665 (1976) (collecting cases).

                1.      The Federal Government Lacks Parens Patriae Standing

        The federal government claims parens patriae standing, but it misapplies the doctrine. Relying

on precedent authorizing the States to sue as parens patriae, the federal government assumes that it has

the same authority. It does not.

        A suit purportedly “to protect the constitutional rights of women in Texas” cannot rest on

parens patriae standing. ECF 6-1 at 1. A parens patriae cannot “step[] in to represent the interests of

particular citizens who, for whatever reason, cannot represent themselves.” Alfred L. Snapp & Son, Inc.

v. Puerto Rico ex rel. Barez, 458 U.S. 592, 600 (1982). “In fact, if nothing more than this is involved—

i.e., if the State is only a nominal party without a real interest of its own—then it will not have standing

under the parens patriae doctrine.” Id. at 600–01 (collecting cases).

        The Supreme Court has said that States can support parens patriae standing based on their

“quasi-sovereign interest in the health and well-being—both physical and economic—of its residents

in general” and their “quasi-sovereign interest in not being discriminatorily denied its rightful status

within the federal system.” Id. at 607. The States “have broad authority to enact legislation for the

public good,” id., and “health laws of every description” are within the States’ “police” powers. Mayor,

Aldermen & Commonalty of City of New York v. Miln, 36 U.S. (11 Pet.) 102, 133 (1837) (quoting Gibbons

v. Ogden, 22 U.S. (9 Wheat.) 1, 203 (1824)). That is why States have a quasi-sovereign interest in the

general health and well-being of their citizens.

        But the federal government does not have the same authority. Unlike the States, it does not

possess the police power. See, e.g., Bond v. United States, 572 U.S. 884, 854 (2014). True, “the Congress”

has an interest in the enforcement of the Fourteenth Amendment, U.S. Const. amend. XIV, § 5, but

it has not given the U.S. Attorney General any authority to bring a parens patriae suit about abortion

rights. On the contrary, it has impliedly prohibited such suits by creating a much more limited parens



                                                    18
patriae regime for abortion rights. The Freedom of Access to Clinic Entrances Act authorizes “the

Attorney General of a State” to “commence a civil action in the name of such State, as parens patriae

on behalf of natural persons residing in such State” regarding certain statutory abortion rights. 18

U.S.C. § 248(c)(3)(A) (emphasis added). The federal government has not pointed to any similar parens

patriae statute authorizing it to sue here.

        Even if the federal government could bring a parens patriae action based on the general health

of Texas citizens, it has not clearly shown that the Texas Heartbeat Act is hazardous to women’s

health. Pregnancy is not an illness. And to the extent a woman’s pregnancy places her health in danger,

the law contains an exception for medical emergencies. See Tex. Health & Safety Code § 171.205.

Indeed, in channeling abortions that might have been performed later in a woman’s pregnancy to the

earlier stages, the Texas Heartbeat Act makes abortion safer. “The earlier in pregnancy that an abortion

is done, the safer it is.” Adams & Boyle, P.C. v. Slatery, 494 F. Supp. 3d 488, 514 (M.D. Tenn. 2020)

(quoting the abortion provider’s medical expert), rev’d. sub nom. Bristol Regional Women’s Center, P.C. v.

Slatery, 7 F.4th 478 (6th Cir. 2021) (Thapar, J.). Without evidence of a public-health injury, the federal

government’s parens patriae argument fails on its own terms.

        Finally, the federal government’s transparent effort to overcome the sovereign-immunity

problems that plagued private challenges to the Heartbeat Act demonstrates the inapplicability of

parens patriae standing. As Justice Brennan explained, “where one State brings a suit parens patriae against

another State, a more circumspect inquiry may be required in order to ensure that the provisions of

the Eleventh Amendment are not being too easily circumvented by the device of the State’s bringing

suit on behalf of some private party.” Alfred L. Snapp & Son, 458 U.S. at 611 (Brennan, J., concurring).

The same circumspection is required here.

                         2. The Federal Government Lacks a Sovereign Injury

        The federal government also claims a “sovereign interest” in making sure States do not violate



                                                    19
the Constitution, ECF 6-1 at 1, but that is not an interest that can support standing. True, the Supreme

Court has recognized a sovereign interest in “the exercise of sovereign power over individuals and

entities within the relevant jurisdiction” that “involves the power to create and enforce a legal code.”

Alfred L. Snapp, 458 U.S. at 601. But the Constitution is not a legal code created by the federal

government. On the contrary, the federal government was created by the Constitution, and the States,

not the federal government, created the Constitution. See U.S. Const. art. VII. Again, although the

Constitution gives Congress the power to enforce the Fourteenth Amendment through appropriate

legislation, Congress denied the executive branch any authority to enforce any right to abortion under

the Fourteenth Amendment. See infra Part II.D. For these reasons, the federal government does not

have a sovereign interest that could support standing.

        The federal government cites In re Debs, 158 U.S. 564 (1895), but it misunderstands the case.

See ECF 6-1 at 32–33. That case explains that the federal government, like any other party, can bring

any lawsuit in which it has a proprietary interest. The federal government has such an interest “in the

mails,” so it had standing on that basis. Debs, 158 U.S. at 583. The Supreme Court also pointed to a

second basis for standing: the federal government’s interest in protecting interstate commerce. The

Supreme Court included the following dicta:

        Every government, intrusted by the very terms of its being with powers and duties to
        be exercised and discharged for the general welfare, has a right to apply to its own
        courts for any proper assistance in the exercise of the one and the discharge of the
        other, and it is no sufficient answer to its appeal to one of those courts that it has no
        pecuniary interest in the matter. The obligations which it is under to promote the
        interest of all and to prevent the wrongdoing of one, resulting in injury to the general
        welfare, is often of itself sufficient to give it a standing in court.

Debs, 158 U.S. at 584.

        Debs’ interference-with-commerce theory of standing turned on the fact that “[t]he national

government, given by the constitution power to regulate interstate commerce, has by express statute

assumed jurisdiction over such commerce when carried upon railroads.” Id. at 586. That meant the



                                                   20
federal government was “charged, therefore, with the duty of keeping those highways of interstate

commerce free from obstruction, for it has always been recognized as one of the powers and duties

of a government to remove obstructions from the highways under its control.” Id. That was the

“dut[y]” “the discharge of” which gave the federal government “standing” to seek “proper assistance”

from the courts. Id. at 584.

        Standing under Debs requires the federal government to demonstrate “a well-defined statutory

interest of the public at large.” United States v. Solomon, 563 F.2d 1121, 1127 (4th Cir. 1977). “[A]n

interest, in the generic sense,” is not enough. Id. at 1125. “[T]he Debs Court specifically noted that

the duty on which the standing of the United States rested arose not simply from the constitutional

grant of power to regulate commerce but from congressional action expressly assuming and

implementing that power.” Clark v. Valeo, 559 F.2d 642, 654 (D.C. Cir. 1977) (Tamm, J., concurring). 5

        In this case, however, the federal government has not “by express statute assumed jurisdiction

over” post-heartbeat abortions. Id. at 586. The only federal abortion statute cited banned partial-birth

abortions. See ECF 6-1 at 27 (citing 18 U.S.C. § 1531(a)). Indeed, under the Supreme Court’s

Commerce Clause jurisprudence, there is a serious question whether Congress even has the power to

protect all post-heartbeat abortions without some further jurisdictional hook, see United States v.

Morrison, 529 U.S. 598, 615–16 (2000), let alone whether the Executive Branch can unilaterally sue to

protect those abortions based on the purported effect on interstate commerce. Cf. Jinks v. Richland

County, 538 U.S. 456, 464 (2003) (noting the possibility that a law could be enacted “as a ‘pretext’ for



5 The federal government relies on United States v. City of Jackson to support its reading of Debs, see ECF 6-1 at
23 (citing 318 F.2d 1 (5th Cir. 1963)), but it omits that case’s subsequent history. On a petition for rehearing,
two members of the original three-judge panel partially withdrew their concurrences. See 320 F.2d 870 (5th Cir.
1963). Depriving the original opinion of a majority, those two judges specified that the federal government had
“ample statutory authorization for the maintenance of th[e] suit” and therefore did “not reach the question
whether the United States would have standing to sue under the Commerce Clause of the Constitution absent
all of these enactments of the Congress.” Id. at 872–73 (Bootle, J., specially concurring); accord. id. at 873
(Ainsworth, J., specially concurring).



                                                       21
‘the accomplishment of objects not entrusted to the [federal] government’”). Congress certainly has

not created a statutory duty for the executive branch to remove a State’s regulations of abortion.

        Without a statutory duty to prevent private lawsuits under the Texas Heartbeat Act, the federal

government cannot claim standing to seek “proper assistance in . . . the discharge of” such a duty.

Debs, 158 U.S. at 584.

        D.      The Federal Government Lacks a Cause of Action

        Relatedly, the federal government also does not have a cause of action. “The federal

government, of course may sue a state in federal court under any valid cause of action,” but it “must

first have a cause of action against the state,” just “like any other plaintiff.” United States v. California,

655 F.2d 914, 918 (9th Cir. 1980); see also Lee v. Yee, 643 F. Supp. 593, 596 (D. Haw. 1986), aff’d sub

nom. United States v. Hawaii, 832 F.2d 1116 (9th Cir. 1987) (per curiam).

        The federal government’s sovereign status does not change the analysis. “When the state as

plaintiff invokes the aid of a court of equity, it is not exempt from the rules applicable to ordinary

suitors.” 6 “[I]t must establish a case of equitable cognizance, and a right to the particular relief

demanded.” Id. Thus, a court cannot award relief unless it is convinced “that a cause of action

cognizable in equity is alleged and proved,” even when one sovereign sues another. Texas v. Florida,

306 U.S. 398, 411 (1939).

        For this reason, the federal government must establish “a right of action given by some

statute” or “a common-law right of action.” Denver & R.G.R. Co. v. United States, 241 F. 614, 616 (8th

Cir. 1917) (rejecting a claim by the federal government). This it cannot do.

                1.       There Is No Constitutional or Statutory Cause of Action

        The federal government does not appear to rely on any constitutional or statutory cause of



61 John Norton Pomeroy, Jr., A Treatise on Equitable Remedies at 586 § 330 (1905), https://www.google.com/
books/edition/A_Treatise_on_Equitable_Remedies/CZpDAQAAMAAJ?hl.



                                                     22
action—and rightfully so.

        The Constitution does not create causes of action at all. Instead, it empowers Congress to pass

legislation creating causes of action in certain circumstances. See, e.g., U.S. Const. art. I, § 8; U.S. Const.

amend. XIV, § 5. The two constitutional provisions at issue in this case, the Supremacy Clause and

the Due Process Clause, are no exceptions. “[T]he Supremacy Clause . . . certainly does not create a

cause of action” either expressly or impliedly. Armstrong v. Exceptional Child Ctr., Inc., 575 U.S. 320, 325

(2015). It “is silent regarding who may enforce federal laws in court, and in what circumstances they

may do so.” Id. The same goes for the Due Process Clause with regard to its restrictions on state law.

See, e.g., Hearth, Inc. v. Dep’t of Pub. Welfare, 617 F.2d 381, 382–83 (5th Cir. 1980) (per curiam) (refusing

to find an implied cause of action under the Fourteenth Amendment’s Due Process Clause); Alexander

v. Trump, 753 F. App’x 201, 206 (5th Cir. 2018) (per curiam); Arpin v. Santa Clara Valley Transp. Agency,

261 F.3d 912, 925 (9th Cir. 2001) (“[A] litigant complaining of a violation of a constitutional right does

not have a direct cause of action under the United States Constitution.”). “[T]he fourteenth

amendment does not implicitly authorize the United States to sue to enjoin violations of its substantive

prohibitions.” United States v. City of Philadelphia, 644 F.2d 187, 201 (3d Cir. 1980). 7

        The federal government also disclaims any effort to identify a statutory cause of action. See

ECF 6-1 at 23 (“even without an express statutory cause of action,” “absence of express statutory



7 In Davis v. Passman, 442 U.S. 228 (1979), the Supreme Court accepted “a former congressional staffer’s Fifth

Amendment claim of dismissal based on sex,” but “it is doubtful that” the Supreme Court would “reach[] the
same result” if it “decided [that case] today.” Hernandez v. Mesa, 140 S. Ct. 735, 741–43 (2020). In any event,
regardless of what Davis says about sex-discrimination claims under the Fifth Amendment’s Due Process
Clause, it did not consider abortion claims under the Fourteenth Amendment’s Due Process Clause, which has
a separate enforcement scheme, see U.S. Const. amend. XIV, § 5; 42 U.S.C. § 1983, nor did it consider creating
a cause of action in favor of the federal government. “[T]he notable change in the [Supreme] Court’s approach
to recognizing implied causes of action” has turned “expanding the Bivens remedy” into “a ‘disfavored’ judicial
activity.” Ziglar v. Abbasi, 137 S. Ct. 1843, 1857 (2017). Thus, as the federal government has repeatedly and
successfully urged when it is a defendant rather than a plaintiff, this Court should not countenance “even a
modest extension” of Bivens, much less the radical transformation that would be required to support a cause of
action in this case. Id. at 1864.



                                                      23
authority”). Although Congress has authorized suits by other types of plaintiffs to enforce the

Fourteenth Amendment against other types of defendants, and has authorized the federal government

to enforce certain other constitutional rights and statutory abortion rights through civil suits, no statute

confers a cause of action on the federal government to sue Texas for the claim here. 8

                          2. There Is No Common-Law or Equitable Cause of Action

        The federal government has not identified a specific common-law or equitable cause of action

that could support this suit. It asks for an injunction, but “an injunction is not a cause of action.”

Novedea Sys., Inc. v. Colaberry, Inc., No. 6:20-cv-180, 2020 WL 9211073, at *2 (E.D. Tex. Dec. 11, 2020);

see also Jones v. Wells Fargo Bank, N.A., No. 5-14-cv-943-RP, 2015 WL 12734177, at *4 (W.D. Tex. Jan.

21, 2015) (Pitman, J.).

        No equitable cause of action applies here. Courts have consistently declined to recognize

equitable causes of action that would allow the federal government to generally challenge alleged

constitutional violations.

        The Fifth Circuit rejected the federal government’s efforts to litigate the Fourteenth

Amendment rights of individuals in United States v. Madison County Board of Education, 326 F.2d 237 (5th

Cir. 1964). There, the federal government “urge[d] that the violations of the Fourteenth Amendment

rights of the children of members and employees of the Armed Forces burden[ed] the exercise of the

war power” and gave the federal government the right to bring suit. Id. at 242. Describing the federal

government’s argument as “unprecedented and extremely dangerous,” the Fifth Circuit held that the

Fourteenth Amendment and the war power combined could not support the suit. Id. at 242–43; accord




8 “The Declaratory Judgment Act provides no independent cause of action.” Texas v. Ysleta del Sur Pueblo, 367
F. Supp.3d 596, 602 (W.D. Tex. 2019); accord Green Valley Special Util. Dist. v. City of Schertz, 969 F.3d 460, 500
(5th Cir. 2020) (Oldham, J., concurring). The federal government as repeatedly and successfully advanced that
position as a defendant. See, e.g., Ali v. Rumsfeld, 649 F.3d 762, 778 (D.C. Cir. 2011). Regardless, the Declaratory
Judgment Act could not support a request for a preliminary injunction.



                                                        24
United States v. County Sch. Bd. of Prince George County, 221 F. Supp. 93, 104 (E.D. Va. 1963).

        Other courts agree. In Philadelphia, the Third Circuit considered “whether the United States

has implied authority to sue a city and its officials for an injunction against violations of the fourteenth

amendment rights of individuals.” 644 F.2d at 189. “[A]lmost every court that has had the opportunity

to pass on the question” has agreed “that the United States may not sue to enjoin violations of

individuals’ fourteenth amendment rights without specific statutory authority.” Id. at 201. That

precedent is consistent with the “three separate refusals of Congress to grant [the Attorney General]

this authority and a widely-shared understanding that the authority does not exist.” Id. at 203.

        The federal government attempts to distinguish this case on the ground that it is exceptional.

See ECF 6-1 at 26. But the federal government seems to believe its cases are often “exceptional,” and

the precedent cited above has already explained why that proposed limitation is unworkable.

Philadelphia, 644 F.2d at 201. The federal government also cites the Take Care Clause, see ECF 6-1 at

25, but that does not change anything. See id. at 199 (rejecting that argument).

        Nor is there an equitable cause of action for the federal government’s Supremacy Clause

claims. No precedent “hold[s] that considerations of federal supremacy can create a cause of action

where none exists under state law or otherwise.” United States v. Hartford Acc. & Indem. Co., 460 F.2d

17, 19 (9th Cir. 1972) (affirming judgment against the federal government).

        In fact, the Supreme Court has already rejected the federal government’s theory: The financial

obligation to reimburse a federal contractor for expenses created by state law is not sufficient to create

a federal cause of action. In United States v. California, a federal contractor managed oil drilling

operations on behalf of the federal government. 507 U.S. 746, 748 (1993). California imposed taxes

on the contractor, which the contractor paid under protest with funds provided by the federal

government. See id. at 748–49. The federal government then filed suit against California, “argu[ing] it

was entitled to recovery based on the federal common-law cause of action for money had and



                                                    25
received.” Id. at 749. The Supreme Court unanimously rejected that claim. “[T]he Government cannot

use the existence of an obligation to indemnify [a federal contractor] to create a federal cause of action

for money had and received to recover state taxes paid by [that contractor].” Id. at 754.

        The federal government acknowledges the “past cases where courts have held that the mere

fact that federal constitutional rights are being violated does not necessarily authorize the United States

to sue.” ECF 6-1 at 25. It attempts to distinguish those cases on the ground that the Heartbeat Act

“thwart[s] ordinary mechanisms of federal judicial review through a congressionally conferred cause

of action,” id., but the statute does not thwart judicial review at all. It not only allows but requires pre-

enforcement judicial review in state court, and a losing litigant can seek review by the U.S. Supreme

Court. There is nothing “unique” about the “circumstances presented here.” ECF 6-1 at 25. State tort

law is often “enforced” by private parties in state court with appeals to the U.S. Supreme Court.

Indeed, the Texas Heartbeat Act is not even the only state law to create a private cause of action that

the Fifth Circuit has considered in the last twenty years. See Okpalobi, 244 F.3d at 429 (reversing an

injunction regarding Louisiana’s similar law); see also Digital Recognition Network, Inc. v. Hutchinson, 803

F.3d 952, 958 (8th Cir. 2015) (noting “enforcement [occurs] only through private actions”).

        In any event, even if these were “unique circumstances,” it would not justify the creation of a

new equitable cause of action. As the Department of Justice has successfully urged when it is opposing

novel equitable relief based on putatively unique circumstances, the Supreme Court’s “traditionally

cautious approach to equitable powers . . . leaves any substantial expansion of past practice to

Congress,” not lower federal courts. Grupo Mexicano, 527 U.S. at 329; see Committee on the Judiciary of the

U.S. House of Representatives v. McGahn, 973 F.3d 121, 123–24 (D.C. Cir. Aug. 31, 2010), vacated, No. 19-

5331 (D.C. Cir. July 13, 2021). The federal government’s proposal to create a new equitable cause of

action would violate not only Grupo Mexicano but also the Supreme Court’s post-Bivens precedent.

When a plaintiff argues that “traditional equitable powers [do not] suffice to give necessary



                                                     26
constitutional protection” and that “a damages remedy is necessary,” the Supreme Court considers “a

number of economic and governmental concerns.” Ziglar v. Abbasi, 137 S. Ct. 1843, 1856 (2017).

Considering these concerns, the Supreme Court has not recognized a Bivens cause of action in more

than forty years. See id. at 1854–55 (describing “the only instances in which the Court has approved of

an implied damages remedy under the Constitution itself”). Those same considerations counsel against

creation of new equitable causes of action beyond the “traditional equitable powers” federal courts

have enjoyed since 1789. Id. at 1856. See supra n.7.

        The federal government further suggests it must have a cause of action because “equity suffers

not a right to be without a remedy,” ECF 6-1 at 24 (cleaned up), but it ignores the available remedies,

including raising constitutional defenses in state court and removal of any suits against federal officers.

Moreover, the federal government is in no position to make this argument in light of its success

persuading the Supreme Court rights often do not have remedies. For example, the Supreme Court

has declined to create a Bivens cause of action even when there would be “no remedy whatsoever for”

particular claims. Schweiker v. Chilicky, 487 U.S. 412, 423 (1988) (describing Bush v. Lucas, 462 U.S. 367,

386 (1983)); see Spagnola v. Mathis, 859 F.2d 223, 228 (D.C. Cir. 1988) (en banc) (explaining the import

of Chilicky and Bush).

        Notably, the federal government does not rely on the equitable cause of action that allows

federal courts to “grant injunctive relief against state officers who are violating, or planning to violate,

federal law.” Armstrong, 575 U.S. at 326–27 (emphasis added); see Ex parte Young, 290 U.S. 123 (1908).

Even when “no one . . . is arguing about sovereign immunity,” “the second of Ex parte Young’s

holdings” is relevant to “whether [the plaintiff] has an equitable cause of action.” Freedom From Religion

Found., Inc. v. Mack, No. 21-20279, 2021 WL 2887861, at *4 n.3 (5th Cir. July 9, 2021). But an Ex parte

Young action cannot be brought against Texas. See Green v. Mansour, 474 U.S. 64, 68 (1985). It must be

brought against a state officer enforcing the challenged law, not the State itself. See Mi Familia Vota v.



                                                    27
Abbott, 977 F.3d 461, 467 (5th Cir. 2020). Here, the federal government has not sued a state official at

all, much less an “official [with] a sufficient ‘connection’ with the enforcement of an allegedly

unconstitutional law.” Id. at 467; see also Mack, 2021 WL 2887861, at *4. Moreover, there is no equitable

tradition of the federal government invoking Ex parte Young to vindicate the constitutional rights of

individuals. See supra Part I.C.1.

        Likewise, although equity sometimes provides a cause of action that “enable[s] potential legal

defendants to assert their defenses preemptively,” John Harrison, Ex Parte Young, 60 Stan. L. Rev. 989,

999 (2008), the federal government does not and cannot invoke that proposition here. The federal

government is not a potential defendant to a heartbeat suit in state court. Nor has the federal

government asserted a defense by suing a would-be state-court plaintiff. Instead, it has sued Texas

itself. Sovereign immunity aside, an equitable cause of action for an anti-suit injunction against Texas

does not make any sense because Texas could not institute a heartbeat suit against anyone, much less

the federal government. See Tex. Health & Safety Code § 171.207(a); Whole Woman’s Health, 2021 WL

4128951, at *4 (“No enforcement power means no enforcement power.”).

        None of the cases that the federal government cites supports a cause of action here. The

federal government relies on Debs, see ECF 6-1 at 22–23, but as explained above, the cited portions of

that case were about whether the federal government had standing, not whether it had a cause of

action. See supra Part I.C.2. Debs did not extensively analyze the federal government’s cause of action

because the Supreme Court was considering a petition for habeas corpus, not an appeal from the

underlying injunction, but it was the well-known equitable cause of action to abate a public nuisance.

“[T]he obstruction of a highway is a public nuisance, and a public nuisance has always been held

subject to abatement at the instance of the government.” Debs, 158 U.S. at 587 (citation omitted).

        Since long before Debs, it had been “settled, that a court of equity may take jurisdiction in cases

of public nuisance, by an information filed by the attorney general.” City of Georgetown v. Alexandria



                                                    28
Canal Co., 37 U.S. 91, 98 (1838). “The crux of the Debs decision” was “that the Government may

invoke judicial power to abate what is in effect a nuisance detrimental to the public interest.” United

Steelworkers of Am. v. United States, 80 S. Ct. 177, 186 (1959) (Frankfurter, J., concurring).

        The cause of action to abate a public nuisance, however, is no help to the federal government

in this case. The Texas Heartbeat Act simply creates a private cause of action. That is not a public

nuisance, and the federal government does not argue otherwise. See Cranor v. 5 Star Nutrition, L.L.C.,

998 F.3d 686, 691–92 (5th Cir. 2021) (listing examples of public nuisances, including “loud and

disturbing noises,” “bad odors, smoke, dust and vibration”).

        Moreover, even if Debs had created a cause of action, it would not apply where “there is . . .

no factor of interstate commerce.” Solomon, 563 F.2d at 1129. “Where . . . there was no basis on which

to claim that interstate commerce was obstructed by a denial of civil rights in violation of some

congressional enactment, four courts have held that the government lacks nonstatutory authority to

sue.” Id. at 1128.

        In this case, the federal government does not bring a commerce claim, nor does it cite any

actual evidence that the Texas Heartbeat Act burdens interstate commerce. Cf. ECF 6-1 at 27 (citing

unverified allegations from the complaint, which cannot support a preliminary injunction). What

evidence that does exist in the record suggests that, if anything, the Act is stimulating rather than

obstructing interstate travel. See ECF 6-8 ¶¶ 10–11 (noting increase in Texas women traveling to

Oklahoma); id. ¶¶ 19–20 (same for Kansas). In any event, an intrastate regulation of medicine is not

sufficiently connected to interstate commerce to trigger Debs. See supra Part I.C.2.

        The federal government also cites Wyandotte Transportation Co. v. United States, 389 U.S. 191

(1967), see ECF 6-1 at 23, but that case was about implied causes of action found in statutes. Because

the federal government does not claim a statutory cause of action here, see supra Part I.D.1, Wyandotte

is irrelevant. In any event, “the unrefined analysis employed in Wyandotte is no longer an accurate



                                                     29
statement of the law.” Philadelphia, 644 F.2d at 192. “In the mid–20th century, the Court followed a

different approach to recognizing implied causes of action than it follows now.” Abbasi, 137 S. Ct. at

1855; Alexander v. Sandoval, 532 U.S. 275, 287 (2001) (refusing to “revert . . . to the understanding of

private causes of action that held sway 40 years ago”).

        Next, the federal government relies on United States v. City of Jackson, 318 F.2d 1 (5th Cir. 1963),

but it fails to cite the opinions on rehearing, in which two members of the original three-judge panel

partially withdrew their concurrences. See 320 F.2d 870 (5th Cir. 1963). Depriving the original opinion

of a majority, those two judges specified that the federal government had “ample statutory

authorization for the maintenance of th[e] suit” and therefore did “not reach the question whether the

United States would have standing to sue under the Commerce Clause of the Constitution absent all

of these enactments of the Congress.” Id. at 872–73 (Bootle, J., specially concurring); accord. id. at 873

(Ainsworth, J., specially concurring) (“I do not reach the question of the propriety or standing of the

United States to sue under the Commerce Clause (Art. I, § 8), the Fourteenth Amendment, or any

other provision of the Constitution.”).

        Jackson, then, depended on “statutory authorization” to sue, id. at 872 (Bootle, J., specially

concurring), not an extra-statutory authority that the federal government now claims. See ECF 6-1 at

23. In any event, the reasoning in the original majority opinion is not persuasive and has been “much

criticized.” Mattson, 600 F.2d at 1298. 9

                          3. Congress Has Displaced Any Cause of Action

        Finally, even if a cause of action could be inferred from some source, Congress displaced it by


9 The federal government also cites a series of cases in which the parties did not argue about whether a cause
of action existed. See ECF 6-1 at 22–23. “Questions which merely lurk in the record, neither brought to the
attention of the court nor ruled upon, are not to be considered as having been so decided as to constitute
precedents.” Cooper Indus., Inc. v. Aviall Servs., Inc., 543 U.S. 157, 170 (2004) (quoting Webster v. Fall, 266 U.S.
507, 511 (1925)). That said, those cases generally involved proprietary or sovereign harms to the United States
that at least arguably fell within established causes of action, unlike the federal government’s attempt here to
vindicate the individual constitutional rights of women in Texas.



                                                        30
enacting a detailed remedial scheme for enforcement of Fourteenth Amendment rights that does not

include this kind of suit by the federal government against States. “[A] court cannot apply its

independent policy judgment to recognize a cause of action that Congress has denied.” Lexmark Int’l,

Inc. v. Static Control Components, Inc., 572 U.S. 118, 128 (2014).

        There have been “three express refusals of modern Congresses to grant the Executive general

injunctive powers in this field, which not only demonstrates explicit congressional intent not to create

the power claimed here by the Attorney General but also reveals an understanding, unanimously

shared by members of Congress and Attorneys General, that no such power existed.” Philadelphia, 644

F.2d at 195. This Court should not attempt to override “congressional policy denying the federal

government broad authority to initiate an action whenever a civil rights violation is alleged.” United

States v. Mattson, 600 F.2d 1295, 1299–300 (9th Cir. 1979).

        The Constitution gives Congress, not the other branches, “power to enforce, by appropriate

legislation,” the Fourteenth Amendment. See U.S. Const. amend. XIV, § 5. Congress has long

exercised that power. “Congress has created numerous mechanisms for the redress of denials of due

process.” Philadelphia, 644 F.2d at 192. In addition to providing for other forms of enforcement,

Congress has created causes of action for both private citizens and the Attorney General. But none

of those causes of action applies here.

        Section 1983, for example, creates a private cause of action for private individuals to sue local

governments as well as local and state officials to vindicate almost all federal-law rights. See 42 U.S.C.

§ 1983; see Will v. Mich. Dep’t of State Police, 491 U.S. 58, 66 (1989). Congress provided an analogous

criminal statute empowering the federal government to bring criminal prosecutions. 18 U.S.C. §§ 241–

42. But Congress has not provided a similarly broad civil cause of action for the federal government or

against a State.

        Instead, Congress has authorized the Attorney General to engage in civil litigation regarding



                                                      31
constitutional rights in only limited circumstances. For example, the Attorney General is empowered

to “institute . . . actions for injunctive relief . . . to implement the twenty-sixth article of amendment

to the Constitution of the United States,” which lowered the voting age. 52 U.S.C. § 10701(a)(1); see

U.S. Const. amend. XXVI. Congress has also authorized the Attorney General to bring lawsuits to

protect certain other voting rights. See 52 U.S.C. §§ 10101(c), 10308(d), 10504, 20510. Further, the

Attorney General is empowered to “intervene in” federal lawsuits “seeking relief from the denial of

equal protection of the laws under the fourteenth amendment to the Constitution on account of race,

color, religion, sex or national origin.” 42 U.S.C. § 2000h-2.

        Congress has also given the Attorney General express causes of action to enforce various

statutory rights, including statutory rights related to abortion. “If the Attorney General of the United

States has reasonable cause to believe that any person or group of persons is being, has been, or may

be injured by conduct constituting a violation of [the Freedom of Access to Clinic Entrances Act], the

Attorney General may commence a civil action in any appropriate United States District Court.” 18

U.S.C. § 248(c)(2)(A); see also 42 U.S.C. §§ 2000a-5(a), 2000e-5(f)(1).

        The one thing Congress has not done is give the Attorney General a cause of action to enforce

constitutional abortion rights, let alone against a State. That omission, viewed in light of the detailed

remedial scheme Congress has enacted for the vindication of related rights, prevents the federal

government from suing here.

        The unifying theme of the Supreme Court’s cause-of-action precedent is that judicially

recognized causes of action may not undermine the more limited remedial schemes that Congress has

established. See Green Valley Special Util. Dist. v. City of Schertz, 969 F.3d 460, 499–501 (5th Cir. 2020)

(Oldham, J., concurring); see also Hernandez v. Mesa, 140 S. Ct. 735, 747 (2020) (“It would be anomalous

to impute a judicially implied cause of action beyond the bounds Congress has delineated for a

comparable express cause of action” (cleaned up)). When identifying implied statutory causes of



                                                    32
action, for example, “[t]he express provision of one method of enforcing a substantive rule suggests

that Congress intended to preclude others.” Sandoval, 532 U.S. at 290. Similarly, “when alternative

methods of relief are available, a Bivens remedy usually is not,” especially if the absence of an express

cause of action “might be more than ‘inadvertent.’” Abbasi, 137 S. Ct. at 1849, 1863. And “where

Congress has prescribed a detailed remedial scheme for the enforcement against a State of a statutorily

created right, a court should hesitate before casting aside those limitations and permitting an action

against a state officer based upon Ex parte Young.” Seminole Tribe of Florida v. Florida, 517 U.S. 44, 74

(1996); see also Armstrong, 575 U.S. at 327 (“The power of federal courts of equity to enjoin unlawful

executive action is subject to express and implied statutory limitations.”). Even when interpreting an

express cause of action like Section 1983, the Supreme Court is careful to ensure that the cause of

action is not so broad that it would allow a plaintiff to “evade” a “requirement” of a more limited

habeas remedy. Preiser, 411 U.S. at 489–90.

        So too here. The more limited options that Congress has provided for enforcing constitutional

rights generally and abortion rights in particular demonstrate that the federal government cannot have

a cause of action here.

        The federal government’s response is that it must be allowed to bring suit because private

individuals face hurdles to bringing pre-enforcement suits in lower federal courts. See ECF 6-1 at 25–

26. But Congress anticipated this issue. In other cases, Congress has authorized the Attorney General

“to institute for or in the name of the United States a civil action” when private individuals “are unable,

in [the Attorney General’s] judgment, to initiate and maintain appropriate legal proceedings.” 42

U.S.C. § 2000b(a) (public facilities); id. § 2000c-6(a) (public schools). It did not do so here.

                                            *        *       *

        For decades, the Supreme Court has recognized that Congress is “perfectly competent . . . to

authorize the United States to be the guardian of that public interest in a suit for injunctive relief.”



                                                    33
United States v. Raines, 362 U.S. 17, 27 (1960). But Congress has not authorized the federal government

to sue in this case. If the Department of Justice wants to expand its authority, it should direct its

requests to Congress, not this Court.

II.     The Texas Heartbeat Act Is Lawful

        A.      The Federal Government Has Not Shown a Clear Violation of the Fourteenth
                Amendment

        The federal government contends that the Texas Heartbeat Act is per se unconstitutional

because it “ban[s] abortion before a fetus is viable.” ECF 6-1 at 13. But the Texas Heartbeat Act does

not “ban” all pre-viability abortions. It sensibly regulates abortion consistent with both the

Constitution and Planned Parenthood of Southeastern Pennsylvania v. Casey, 505 U.S. 833 (1992).

        Under Casey, States cannot enforce “a prohibition of abortion” or “a substantial obstacle to

the woman’s effective right to elect the procedure” before viability. Planned Parenthood of Se. Pennsylvania

v. Casey, 505 U.S. 833, 846 (1992). While the Court treats “a legislative ban on nontherapeutic

abortions” before “viability” as per se unconstitutional, id. at 860, mere “obstacles” are evaluated under

the “undue burden” test. See id. at 874. “A finding of an undue burden is a shorthand for the conclusion

that a state regulation has the purpose or effect of placing a substantial obstacle in the path of a woman

seeking an abortion of a nonviable fetus.” Id. at 877.

        The federal government argues for skipping the undue-burden analysis because the Heartbeat

Act is “a ban,” not an obstacle. ECF 6-1 at 15. But Texas has not banned all pre-viability abortions.

        Instead, Texas has enacted a private cause of action to encourage, insofar as possible, that any

abortions take place before a heartbeat is detectable. See Tex. Health & Safety Code § 171.208(a). Pre-

viability abortions remain an option, most obviously before a heartbeat is detectable. See, e.g., ECF 6-

7 ¶ 25 (noting that the Planned Parenthood Center for Choice, Inc., performed 52 abortions over 10

days after the Heartbeat Act took effect).

        Moreover, the Act does not prohibit pregnant women from receiving abortions, and it lifts its


                                                    34
regulation of third parties to the extent necessary to prevent an undue burden on a pregnant woman’s

rights. See id. § 171.209(b). By its own terms, then, the Texas Heartbeat Act channels abortions to the

pre-heartbeat time period, except when doing so would impose an undue burden. Shifting the time at

which some abortions occur is not a “ban” under Casey. See In re Abbott, 954 F.3d 772, 788-89 (5th Cir.

2020) (holding that postponement of some abortions was not a “ban” on previability abortion), vacated

as moot, Planned Parenthood Ctr. for Choice v. Abbott, 141 S. Ct. 1261 (2021). Finally, the Heartbeat Act is

not tied “to a specific gestational age.” Jackson Women’s Health Org v. Dobbs, 945 F.3d 265, 273 (5th Cir.

2019), cert. granted, No. 19-1392, 2021 WL 1951792 (U.S. May 17, 2021).

        That a law prevents some abortions from occurring, even pre-viability, does not make it a

“ban.” In Gonzales v. Carhart, the Supreme Court considered a statute prohibiting partial-birth

abortions “both previability and postviability.” 550 U.S. 124, 156 (2007). The statute’s “necessary

effect” was to cause “some women to carry the infant to full term, thus reducing the absolute number”

of abortions.” Id. at 160. Still, the Supreme Court analyzed (and upheld) the statute under the undue-

burden test, not the per se rule against “bans.” See id. at 156–67. Similarly, in June Medical, the Supreme

Court applied the undue-burden test to a law that would “leave thousands of Louisiana women with

no practical means of obtaining a safe, legal abortion.” 140 S. Ct. at 2130. Preventing some pre-viability

abortions is not enough to turn a statute from a regulation into a ban.

        Under the undue-burden test, the federal government’s claim fares no better. The Texas

Heartbeat Act, after all, incorporates the Supreme Court’s test. Its statutory undue-burden defense is

modelled on the test Casey applies to regulations of pre-viability abortions. See Tex. Health & Safety

Code § 171.209.

        Even as everyone is adjusting to the new law, women have been able to obtain post-heartbeat

abortions. Dr. Alan Braid, for example, reports that at least one of his patients received an abortion

“beyond the new legal limit,” though he did not indicate whether it was pursuant to the “undue



                                                    35
burden” exception. 10 Other pregnant women have received post-heartbeat abortions by traveling

across state lines. See ECF 6-8 ¶¶ 11, 21; see Whole Woman’s Health v. Cole, 790 F.3d 563, 597–98 (5th

Cir. 2015), rev’d on other grounds sub nom. Whole Woman’s Health v. Hellerstedt, 136 S. Ct. 2292 (2016).

According to the federal government, these options will increase over time as out-of-state abortions

providers are “working hard to expand [their] capacity and increase the number of patients [they] can

serve.” ECF 6-8 ¶ 32.

        The federal government points to abortion providers’ fear of liability—liability they believe is

plainly unconstitutional. See, e.g., Gilbert Decl. ¶ 41; Hagstrom Miller Decl. ¶ 41; Linton Decl. ¶ 24.

Thus, the federal government would have this Court believe both (1) that the Texas Heartbeat Act is

facially unconstitutional and (2) that abortion providers no longer perform post-heartbeat abortions

due to a reasonable fear of liability under the Act. Both cannot be true. Whenever imposing liability

under the Act would be unconstitutional, Texas courts will not do so. Neither litigants nor this Court

should assume that Texas courts would be unwilling to apply Supreme Court precedent. See Penrod

Drilling Corp. v. Williams, 868 S.W.3d 294, 296 (Tex. 1993) (per curiam).

        The federal government complains that the statutory undue-burden defense does not match

the Supreme Court’s undue-burden standard in all relevant details, see ECF 6-1 at 15–16, but that is

irrelevant. Texas courts accept constitutional as well as statutory defenses, so if in any particular case

the Constitution requires a broader defense than the statute provides, state courts will be ready to

accept that argument. But at this point, there is no way to know whether the alleged differences

between the two defenses will ever arise in litigation, much less be material to the outcome.

        Finally, the federal government half-heartedly suggests one last merits theory: that “Texas

appears to have acted with the purpose of infringing women’s constitutional rights.” ECF 6-1 at 16.


10 Alan Braid, Opinion: Why I Violated Texas’s Extreme Abortion Ban (Sept. 18, 2021), https://www.washingtonpost

.com/opinions/2021/09/18/texas-abortion-provider-alan-braid/.



                                                      36
Proof of any unlawful motive must appear in the record, Mazurek, 520 U.S. at 972, yet the federal

government cites no evidence of the Texas Legislature’s purpose. The Court cannot “assume

unconstitutional legislative intent even when statutes produce harmful results.” Id. Moreover, in the

preliminary-injunction context, the evidence must amount to a “clear showing” of unconstitutionality.

Id. The absence of any evidence of an unlawful purpose in Mazurek resulted in the reversal of a

preliminary injunction. Id. at 976. It should preclude the entry of such an injunction here, especially in

light of the Legislature’s decision to provide a statutory defense modeled on Supreme Court precedent.

See Tex. Health & Safety Code § 171.209.

        Notably, the federal government makes no attempt to show that many of the Act’s other

provisions create an undue burden on abortion. See In re Gee, 941 F.3d 153, 172 (5th Cir. 2019) (per

curiam) (explaining that “the Supreme Court has analyzed abortion provisions separately rather than

cumulatively”). The requirement that a doctor first attempt to detect a fetal heartbeat, Tex. Health &

Safety Code § 171.203(b), resembles Texas’s preexisting requirement that physicians make the unborn

child’s heart auscultation audible prior to the abortion, id. § 171.012(a)(4)(D). The federal government

offers no evidence that this creates an undue burden on women in Texas.

        Likewise, the federal government provides no evidence or argument that the Act’s fee-shifting

provision for challenges to abortion laws, Tex. Civ. Prac. & Rem. Code § 30.022, or requirement that

physicians make and keep certain records whenever any abortion is performed due to a medical

emergency, Tex. Health & Safety Code §§ 171.008, 245.011(c)(10)–(11), imposes an undue burden on

previability abortions.

        At bottom, the federal government’s complaint is that the Heartbeat Act is difficult to

effectively enjoin. ECF 6-1 at 14. But there is no requirement that a state write its laws to make them

easily enjoined under Section 1983. Indeed, any state-created private cause of action would fall under

that theory. The cases cited by the federal government confirm only that the States may not oust



                                                   37
federal claims from their courts, Haywood v. Drown, 556 U.S. 729, 742 & n.9 (2009); Howlett By and

Through Howlett v. Rose, 496 U.S. 356, 383 (1990), or place such restrictions on them that they cannot

be heard, Felder v. Casey, 487 U.S. 131, 138 (1988). State courts are open to hear constitutional

challenges and, if federal subject-matter jurisdiction can be found, so are federal courts.

        B.      The Federal Government Has Not Clearly Shown the Act Is Preempted or
                Violates Intergovernmental Immunity

        The federal government raises “as applied” preemption and intergovernmental-immunity

claims, see ECF 6-1 at 16–22, but it has not clearly shown a violation of either doctrine. To create a

conflict where none exists, the federal government overstates the Act’s reach and its own operations.

                1.      Standard

        Conflict preemption “is present when (1) ‘compliance with both state and federal law is

impossible,’ or (2) state law ‘stands as an obstacle to the accomplishment and execution of the full

purposes and objectives of Congress.’” Aldridge v. Miss. Dep’t of Corrections, 990 F.3d 868, 875 (5th Cir.

2021) (quoting California v. ARC Am. Corp., 490 U.S. 93, 100–01 (1989)). The “inquiry begins with the

presumption that federal statutes do not supersede States’ historic police powers, unless Congress

clearly and manifestly intended to do so.” Teltech Sys., Inc. v. Bryant, 702 F.3d 232, 236 (5th Cir. 2012).

“This assumption applies with ‘particular force’” in a field “traditionally occupied by State law.” Elam

v. Kansas City S. Ry. Co., 635 F3d 796, 804 (5th Cir. 2011) (quoting Altria Grp., Inc. v. Good, 555 U.S. 70,

77 (2008)). Preemption requires more than “the mere fact of tension between federal and state law,”

but rather a “sharp conflict between state law and federal policy.” Williams, 987 F.3d at 198 (quotations

omitted). “Indeed, federal law does not preempt state law under obstacle preemption analysis unless

the repugnance or conflict is so direct and positive that the two acts cannot be reconciled or

consistently stand together.” In re Methyl Tertiary Butyl Ether (MTBE) Prods. Liability Litig., 725 F.3d 65,

102 (2d Cir. 2013) (quotation omitted).

        Intergovernmental immunity prohibits State laws that “regulate[] the United States directly or


                                                    38
discriminate[] against the Federal Government or those with whom it deals.” North Dakota v. United

States, 495 U.S. 423, 435 (1990) (citations omitted). “[G]enerally applicable” laws do not run afoul of

intergovernmental immunity, even if they result in “an increased economic burden on federal

contractors as well as others.” Boeing Co. v. Movassaghi, 768 F.3d 832, 839 (9th Cir. 2014). But a state

law violates intergovernmental immunity if it “interferes with a federal contractor’s ability to ‘discharge

its contractual obligations’ consistent with the terms set out by the federal government.” Student Loan

Servicing All., 351 F. Supp. 3d at 73–74.

                    2.      The Act Does Not Prohibit Carrying Out Federal Obligations

        The federal government’s first theory is that the Heartbeat Act “purports to prohibit federal

personnel and contractors from carrying out their federal obligations,” ECF 6-1 at 17, but the law

does no such thing.

        As an initial matter, Texas courts are unlikely to interpret the Act to apply to the federal

government or those carrying out federal obligations. Texas courts presume that state statutes do not

regulate the federal government. Texas statutes generally “includ[e] an implied exemption in favor of

the United States” and are held to be “inapplicable to the United States.” R.R. Comm’n v. United States,

290 S.W.2d 699, 702 (Tex. Civ. App.—Austin 1956), aff’d, 317 S.W.2d 927 (Tex. 1958). The same

presumption applies in favor of federal contractors when they act “under the direction and exclusively

in the official service of the United States.” Louwein v. Moody, 12 S.W.2d 989, 990 (Tex. Comm’n App.

1929) (refusing to “attribute[] to the Legislature” a “[p]urpose to impose such a burden” on the federal

government “in the absence of compelling words”).

        That is particularly likely here because the Heartbeat Act creates a private cause of action only

against certain “person[s].” Tex. Health & Safety Code § 171.208(a). “In the absence of an express

statutory definition,” courts often apply “a longstanding interpretive presumption that ‘person’ does

not include the sovereign, and thus excludes a federal agency.” Return Mail, Inc. v. United States Postal



                                                    39
Serv., 139 S. Ct. 1853, 1861–62 (2019) (quotation marks omitted). That is doubly so in light of the

federal government’s constitutional objections. Texas courts “interpret statutes in a manner to avoid

constitutional infirmities” whenever “possible.” Osterberg v. Peca, 12 S.W.3d 31, 51 (Tex. 2000).

        This Court cannot assume that the Heartbeat Act applies to the federal government and its

contractors. The federal government’s motion does not acknowledge the existence of this canon of

construction, much less dispute its applicability. To the extent the federal government thinks Texas is

misinterpreting its statute, the Court should abstain in favor of a Texas court. “The Pullman case

establishes two prerequisites for Pullman abstention: (1) there must be an unsettled issue of state law;

and (2) there must be a possibility that the state law determination will moot or present in a different

posture the federal constitutional questions raised.” Palmer v. Jackson, 617 F.2d 424, 428 (5th Cir. 1980).

Both are present here. There is more than a “possibility” that state court will rule the Act does not

apply to the federal government or those working for it (including contractors), which would moot,

or at least present in a different posture, the federal government’s Supremacy Clause claims.

        In the alternative, even if the Heartbeat Act reaches the federal government, it does not

interfere with federal activities.

        Bureau of Prisons: The Bureau of Prisons does not arrange for abortions that violate the Texas

Heartbeat Act. While federal regulations require a warden to arrange for an abortion should an inmate

choose to abort her child, 28 C.F.R. § 551.23, the warden is also required to “ensure compliance with

the applicable law regarding these matters.” Id. § 550.20. A BOP guidance document explains that

“[s]taff should abide by applicable federal and state (the state in which the institution is located) laws

and regulations.” Ex. A at DOJ-11. Thus, there is no conflict between the federal regulations and state

law. The federal regulations expressly incorporate state law, including the Heartbeat Act.

        By declining to violate state laws, federal officials do not violate anyone’s constitutional rights.

BOP warns pregnant inmates “that laws related to the termination of pregnancy vary among states.”



                                                    40
ECF 6-12 at 36. The mere fact of the mother’s incarceration does not exempt an abortion from state

regulation. See, e.g., Victoria W. v. Larpenter, 369 F.3d 475, 480 (5th Cir. 2004) (prisoner would “soon

be past the time limit for a legal abortion”); Gibson v. Matthews, 926 F.2d 532, 536 (6th Cir. 1991)

(federal officials not liable under Bivens for refusing to furnish abortion to inmate in 22nd week of

pregnancy); Bryant v. Maffucci, 729 F. Supp. 319, 320–21, 328 (S.D.N.Y. 1990) (no Section 1983

violation in refusing to furnish abortion to inmate in third trimester of pregnancy).

       Marshal’s Service: According to the federal government, women in custody of the U.S. Marshal’s

Service “may elect to have an abortion under the agency’s policy directives.” ECF 6-1 at 18. Yet the

federal government omits a key qualification: “a USMS prisoner may elect to have an abortion consistent

with state law,” as its own declarant explains. ECF 6-13 at ¶ 7 (emphasis added); accord Ex. B at DOJ-

1154–55. Marshal’s Service activities therefore do not violate the Heartbeat Act.

       Department of Defense: The federal government provides no evidence of DOD activities. It

simply cites two federal statutes, neither of which requires DOD to provide abortions at all. A statute

generally entitling servicemembers to medical and dental care does not prove that DOD provides

abortions. See 10 U.S.C. § 1074. Nor does a statute prohibiting federal funding for most abortions. See

id. § 1093. There is thus no evidence that DOD provides abortions, much less that it somehow does

so in manner inconsistent with the Heartbeat Act.

       Office of Refugee Resettlement: The federal government mischaracterizes ORR’s role. See ECF 6-1

at 19. Out-of-circuit precedent requires only that the federal government “step out of the way” when

an alien in its custody wants an abortion. J.D. v. Azar, 925 F.3d 1291, 1328 (D.C. Cir. 2019).

“[A]lthough government may not place obstacles in the path of a woman’s exercise of her freedom of

choice, it need not remove those obstacles not of its own creation.” Id. (quoting Harris v. McRae, 448

U.S. 297, 316 (1980)). Nothing requires ORR to ensure that aliens are not “obstructed” by state

regulations. On the contrary, ORR practice is to treat a “state-law deadline for an abortion” as an



                                                  41
independent obstacle not of its own creation. Id. at 1304–05. Indeed, ORR has announced that it acts

“in alignment with state law governing the conduct of medical providers who provide abortions to

minors.” Ex. C at DOJ-1003. ORR requires its “care providers . . . to comply with state law governing

access to abortion and abortion services.” ECF 6-14 ¶ 12. And ORR notifies a pregnant minor that

she has “the right to decide whether to continue [her] pregnancy and give birth or to have a legal

abortion.” Ex. D at DOJ-1078 (emphasis added). Thus, there is no conflict.

                   3.      The Act Does Not Interfere with Federal Contracts

       The federal government’s second theory is that the Heartbeat Act “interferes with federal

directives to third-party providers who are contractually obligated to provide abortion-related

services.” ECF 6-1 at 20. Not so.

       Department of Labor: The federal government argues that Job Corps contractors will provide

abortions services in a way that violates the Heartbeat Act, see ECF 6-1 at 20, but the federal

government’s own handbook explains that “[a]ll center health staff and providers must follow

accepted professional standards of care and are subject to prevailing state laws.” Ex.E 11 There is thus

no conflict between federal instructions to Job Corps contractors and state law.

       Even if the law were otherwise, the problem would be entirely hypothetical. The four Job

Corps Centers in Texas encounter very few pregnant students and incur no costs related to abortion.

At the Job Corps Center in El Paso there were only 3 pregnant students in 2021, 1 in 2020, and 22 in

2019. Ex. F at DOJ-21. “None” of them “opted to terminate pregnancy.” Id. The Laredo Job Corp

Center had 0 pregnant students in 2020, 1 in 2019, and 2 in 2018. Ex. G at DOJ-138. None of them

terminated their pregnancies. Id. The Job Corps Center in San Marcos does “not have knowledge of”

“how many students opt to terminate pregnancy,” which itself demonstrates that students seeking


11Job Corps, Policy and Requirements Handbook § 2.3 R13 (June 15, 2021), https://prh.jobcorps.gov/PRH%20
Chapter%202/PRH%20Chapter%202%20-%2006.15.21.pdf (cited in ECF 6-15 ¶ 11).



                                                  42
abortions does not impose costs on the contractor. Ex. H at DOJ-77. The North Texas Job Corps

Center had 12 pregnant students over 3 years, and only 1 or 2 sought an abortion. Ex. I [DOJ-220

through DOJ-224] at DOJ-223. The contractor clarified, however, that it “does not incur costs of

students who choose to have an abortion” and “did not transport the student to the abortion clinic.”

Id.

       Office of Personnel Management: Even the federal government does not contend that a conflict

will arise between OPM’s health insurance contracts and the Heartbeat Act. The most it says is that a

conflict “may” arise. ECF 6-1 at 21. The federal government’s declarant discusses only what “could”

happen, ECF 6-17 ¶¶ 10–13, and how health insurance carriers “may” react, id. ¶ 14. The federal

government seemingly has not even asked the carriers what they are doing. Regardless, a conflict will

not arise because a State’s substantive regulations operate in a different space than federal coverage

decisions do. When a medical procedure does not occur because a State’s substantive law prohibits it,

issues related to whether such a procedure would be covered are irrelevant. For example, California

has prohibited mental health providers from “engag[ing] in sexual orientation change efforts with a

patient under 18 years of age,” Cal. Bus. & Prof. Code § 865.2, but no one contends that a federal

health insurance plan covering such a service would override the State’s substantive regulation.

                   4.      The Act Is Consistent with Medicaid

       The federal government’s final theory is that the Heartbeat Act “violates statutory and

regulatory provisions applicable to the Medicaid program in Texas,” ECF 6-1 at 21, but the Medicaid

program does not conflict with the Heartbeat Act for the same reasons other federal health insurance

plans do not. The fact that a federal program would provide funding to cover a procedure if it occurred

does not conflict with a State’s substantive regulations that prevent the procedure from occurring.

       The federal government cites Hope Medical Group for Women v. Edwards, 63 F.3d 418 (5th Cir.

1995), see ECF 6-1 at 21–22, but that case is doubly irrelevant. First, the case considered a law



                                                  43
restricting funding under “Louisiana’s state Medicaid program,” not a generally applicable regulation

of the practice of medicine. Hope Med., 63 F.3d at 420–21. Second, the court held Louisiana’s law

invalid because it “categorically prohibits funding for abortions in cases of rape or incest without

regard to whether the procedures might be medically necessary.” Id. at 428. The Texas Heartbeat Act

is not so categorical. It creates express exceptions “if a physician believes a medical emergency exists”

or if it would “impose an undue burden.” Tex. Health & Safety Code §§ 171.208(a), 171.209(b)(2).

III.     The Federal Government Has Not Clearly Shown Irreparable Harm

         The federal government wrongly argues that “enforcement of a state law that violates the

Constitution” always causes “irreparable harm” sufficient to justify a preliminary injunction. ECF 6-1

at 33. That is not true. “It is not enough simply to argue that there has been some violation of [the

Constitution]; [a plaintiff] must allege a personal violation of rights” such that the harm is irreparable

under the traditional understanding of that term. Croft v. Governor of Texas, 562 F.3d 735, 745 (5th Cir.

2009) (citing Valley Forge Christian Coll. v. Ams. United for Separation of Church & St., Inc., 454 U.S. 464,

486 n.22 (1982)). 12 The federal government has previously made this same point as a defendant. See,

e.g., Initial Brief for Appellee, Pulphus v. Ayers, 2018 WL 1110678, at *50–51 (D.C. Cir. Feb. 28, 2018);

Brief of Appellees Federal Election Commission and United States Department of Justice, The Real

Truth About Obama, Inc. v. FEC, 2008 WL 4905254, at Part II (4th Cir. Oct. 28, 2008).

         Now, the federal government relies on New Orleans Pub. Serv., Inc. v. Council of City of New Orleans

(“NOPSI”), but that case did not consider whether there was irreparable harm—even on the federal


12 See also, e.g., Norfolk S. Corp. v. Oberly, 594 F. Supp. 514, 522 (D. Del. 1984) (“The Third Circuit has made it
clear that not all violations of constitutional rights constitute irreparable injury.”) (citing Constructors Ass’n of W.
Pa. v. Kreps, 573 F.2d 811, 820 n.33 (3d Cir. 1978)); Hohe v. Casey, 868 F.2d 69, 73 (3d Cir. 1989) (“Constitutional
harm is not necessarily synonymous with the irreparable harm necessary for issuance of a preliminary
injunction.”) (citing City of Erie v. Pap’s A.M., 529 U.S. 277, 301 (2000)); Heideman v. South Salt Lake City, 348
F.3d 1182, 1190 (10th Cir. 2003) (explaining that before determining irreparable injury, “[i]t is necessary,
however, to consider the specific character of the First Amendment claim”) (emphasis added); Siegel v. LePore,
234 F.3d 1163, 1177 (11th Cir. 2000) (collecting cases); (“Plaintiffs also contend that a violation of constitutional
rights always constitutes irreparable harm. Our case law has not gone that far, however.”).



                                                          44
government’s telling it merely “assume[ed] that irreparable injury may be established” in circumstances

not presented there. ECF 6-1 at 33 (citing NOPSI, 491 U.S. 350, 366-67 (1989)). In reality, NOPSI

discussed only whether obviously unconstitutional statutes “may possibly” or “[p]erhaps” establish

irreparable injury in the context of whether a federal court should abstain, not grant a preliminary

injunction. 491 U.S. at 366-67.

        And here, even if a heartbeat defendant’s injuries somehow flowed through to the federal

government, irreparable harm could occur only if (1) the threat of such litigation “chills” the exercise

of constitutional rights or (2) heartbeat defendants have to pay an unconstitutional judgment. But

neither alleged harm can support injunctive relief in these circumstances. A preliminary injunction

cannot redress the first, and state-court litigation is an adequate remedy at law for the second.

        A.      A Preliminary Injunction Would Not Eliminate the Possibility of Future
                Liability

        The federal government complains that “clinics and providers” have ceased providing

abortions “[d]ue to the prospect of ruinous liability” under the Heartbeat Act. ECF 6-1 at 7. But in

these circumstances, no preliminary injunction from a federal district court could remedy that alleged harm.

The threat of liability would remain given the significant possibility that a preliminary injunction would

be stayed, reversed, or not turned into a permanent injunction (including on procedural grounds).

Abortion providers would still face the threat of future state-court litigation for abortions performed

during the pendency of the injunction if the injunction were set aside. Unsurprisingly, therefore, the

federal government introduces no evidence that a preliminary injunction would eliminate the alleged

“chill” for any abortion clinics that fear liability under the Heartbeat Act. As the requested relief would

not prevent the alleged irreparable harm, it should be denied.

        According to the federal government, “individuals throughout Texas have already been chilled

from exercising their constitutional rights or from providing abortion services based on their

reasonable fear of enforcement.” ECF 1 ¶ 79. The federal government further alleges that this change


                                                    45
in behavior by third parties “will increase [its] costs to the extent that agencies must incur increased

transportation and other costs to provide individuals in their care with abortion services outside the

State of Texas.” Id. ¶ 46. In other words, the federal government believes that it will suffer because

third parties fear suffering future judgments from private suits.

        A preliminary injunction would not help the federal government avoid that alleged harm. A

preliminary injunction ceases to be binding, of course, if “it is reversed by orderly and proper

proceedings.” United States v. United Mine Workers of Am., 330 U.S. 258, 293 (1947). And if that were to

happen, the Act specifically provides that “reliance on any court decision that has been overruled on

appeal or by a subsequent court” is “not a defense.” Tex. Health & Safety Code § 171.208(e)(3). A

preliminary injunction cannot serve as “a grant of total immunity from future [enforcement].” Edgar

v. MITE Corp., 457 U.S. 624, 649 (1982) (Stevens, J., concurring in part and concurring in the

judgment). “[F]ederal judges have no power to grant such blanket dispensation from the requirements

of valid legislative enactments.” Id. At this preliminary stage, there is no equitable remedy that could

provide such immunity. See Grupo Mexicano, 527 U.S. at 332. Indeed, even if one were to think that the

preliminary injunction somehow might prohibit heartbeat suits for abortions performed before it was

set aside on appeal, potential state-court defendants cannot know now that courts will later so hold. And all

of this is especially true because an heartbeat suit can be brought up to four years after the cause of

action accrues (not to mention the possibility of tolling during the pendency of any preliminary

injunction). See Tex. Health & Safety Code § 171.208(d).

        Thus, in these circumstances, even if the Court preliminarily enjoined enforcement of the

Heartbeat Act, abortion providers would still face the threat of future enforcement actions. Notably,

the federal government has failed to introduce any evidence to support the counterintuitive theory

underlying its requested injunction: namely, that abortion providers are so “chilled” by the Heartbeat

Act that they are unwilling to risk raising a constitutional defense in state court (even though the



                                                     46
federal government claims that defense is unambiguously compelled by U.S. Supreme Court

precedent), but would nevertheless be “unchilled” by a mere preliminary injunction from this Court

despite the serious risk of appellate reversal (given the serious procedural problems with the federal

government’s suit). In this context, that theory of redress is illogical, and the federal government’s

failure to introduce actual evidence supporting it is fatal.

        “An indispensable prerequisite to issuance of a preliminary injunction is prevention of

irreparable injury.” Tate v. Am. Tugs, Inc., 634 F.2d 869, 870 (5th Cir. 1981) (emphasis added). “[I]t is a

necessary corollary to the idea of irreparable injury without a preliminary injunction that the injury

complained of will in fact be prevented by the injunction.” Viands Concerted, Inc. v. Reser’s Fine Foods,

Inc., No. 2:08-cv-914, 2008 WL 4823053, at *11 (S.D. Ohio Oct. 31, 2008), report and recommendation

adopted, 2009 WL 1728289, at *13 (S.D. Ohio June 16, 2009) (“An injunction would not, as a matter

of law, prevent the irreparable injury Viands asserts it will endure.”).

        When a proposed preliminary injunction “would not likely prevent the kind of irreparable

injury Plaintiff seeks to prevent,” it cannot issue. Coleman v. United States, No. 5:16-cv-817-DAE, 2017

WL 1278734, at *2 (W.D. Tex. Jan. 3, 2017); see also Foy v. Univ. of Tex. at Dall., No. 3:96-cv-3406, 1997

WL 279879, at *3 n.1 (N.D. Tex. May 13, 1997), aff’d, 146 F.3d 867 (5th Cir. 1998) (per curiam)

(denying an injunction because the plaintiff had not shown it would “remedy the irreparable injury of

which he complains”).

        Applying this rule, the Second Circuit reversed a preliminary injunction in American Postal

Workers Union, AFL-CIO v. U.S. Postal Service, 766 F.2d 715 (2d Cir. 1985). There, the alleged “chilling

of protected speech and union activities stem[med] not from the interim discharge, but from the threat

of permanent discharge” by an employer. Id. at 722. But “the threat of permanent discharge . . . is not

vitiated by an interim injunction,” so there was no way the “chilling of the right to speak or associate

could logically be thawed by the entry of an interim injunction.” Id.; see also Buckingham Corp. v. Karp,



                                                    47
762 F.2d 257, 262 (2d Cir. 1985).

        Similarly, in Chiafalo v. Inslee, the plaintiffs argued “that the mere potential of a monetary penalty

has a chilling impact on [their] ability to exercise their First Amendment rights.” 224 F. Supp. 3d 1140,

1147 (W.D. Wash. 2016). The court denied a preliminary injunction because such “relief would have

no impact on Plaintiffs’ decisionmaking calculus.” Id. at 1148. “Whether or not the court preliminarily

enjoins the State from enforcing the $1,000.00 civil penalty,” the plaintiffs’ decision-making would

occur in light of the prospect of eventually having to pay the penalty because a preliminary injunction

does not guarantee permanent relief. Id. In the end, “preliminary injunctive relief would not mitigate

the chilling effect of the discretionary statutory penalty.” Id.

        More recently, a federal court denied a motion for preliminary injunction against the federal

government on this same theory. In Ohio v. Yellen, the State of Ohio sought a preliminary injunction

preventing the Secretary of the Treasury from attempting to recoup federal funding from it. No. 1:21-

cv-181, 2021 WL 1903908, at *14 (S.D. Ohio May 12, 2021). Ohio argued that a preliminary injunction

“would provide clarity about the legal consequences of its decisions.” Id. at *15. The court denied relief

because a preliminary injunction effective “while this case is pending does not—indeed cannot—

provide the clarity that Ohio seeks.” Id. Regardless of whether the court issued injunctive relief, Ohio

would face the same lack of clarity about the defendant’s power to recoup federal funds. With a

preliminary injunction, Ohio would face “possible recoupment . . . once the Court issues a merits

decision, i.e., if the Court . . . were to decline to convert the preliminary injunction into a permanent

injunction.” Id. Similarly, without a preliminary injunction, “the funds possibly could be recouped

down the road . . . once again depending on the outcome of this case.” Id.

        The same rationale applies here. According to the federal government abortion providers are

declining to provide certain abortions because they fear future lawsuits. But a preliminary injunction

could not assuage that fear because it could not permanently prevent such lawsuits. A preliminary



                                                     48
injunction in force only “until this action is concluded . . . . would not eliminate the risk of multiple

judgments and verdicts.” Oxford Capital Ill., L.L.C. v. Sterling Payroll Fin., L.L.C., No. 1:01-cv-1173,

2002 WL 411553, at *5 (N.D. Ill. Mar. 15, 2002). Potential heartbeat suits brought during the pendency

of this case are no more fearsome that those brought after a preliminary injunction is vacated. Thus,

a preliminary injunction cannot prevent the federal government’s alleged irreparable harm.

        Consider Whole Woman’s Health (“WWH”), for example. According to its President and

CEO, “every day the law is in effect, [WWH is] forced to turn away the majority of patients seeking

an abortion.” ECF 6-6 ¶ 15. WWH also complains of “uncertainty” caused by the existence of the

Act, “[e]ven before September 1,” its effective date. ECF 6-6 ¶ 38. Of course, federal courts cannot

stop a state statute from being “in effect,” much less erase it from existence. See Pool v. City of Houston,

978 F.3d 307, 309 (5th Cir. 2020) (citing Jonathan F. Mitchell, The Writ-of-Erasure Fallacy, 104 Va. L.

Rev. 933, 936 (2018)).

        Planned Parenthood is in a similar position. It says that “[t]he risk of civil liability, damages,

and certain cost of litigation . . . means that” they no longer provide abortions that would violate the

Heartbeat Act. ECF 6-7 ¶ 17 (emphasis added). Again, a preliminary injunction cannot eliminate the

“risk” that Planned Parenthood will someday face liability for violating the law.

        In the end, “[t]he total inability of the requested preliminary injunction to prevent plaintiff’s

allegedly irreparable injury sounds a death knell for plaintiff’s motion.” Madias v. Dearborn Fed. Credit

Union, 916 F. Supp. 659, 661 (E.D. Mich. 1996). Thus, any “chill” created by the Act is not irreparable

harm that can be prevented by a preliminary injunction. 13




13 Even if the federal government had moved for a declaratory judgment, which is based on statute rather than
equity, it would not change this analysis. First, “prior to final judgment there is no established declaratory
remedy comparable to a preliminary injunction.” Doran v. Salem Inn, Inc., 422 U.S. 922, 931 (1975). Second, even
if there were a “preliminary declaration,” it would not provide a defense to an state-court action after it expired
or was reversed. See Tex. Health & Safety Code § 171.208(e)(3).



                                                        49
        B.      Heartbeat Defendants and the Federal Government Have an Adequate
                Remedy at Law for any Liability Determined in State Court

        Abortion providers who are not “chilled” also cannot be the source of irreparable harm

justifying injunctive relief. As an initial matter, the federal government seems to disclaim this theory.

It argues that “abortion providers in Texas ceased providing abortions after six weeks, absent a

medical emergency.” ECF 6-1 at 7. If the federal government is right, then no abortion providers will

face heartbeat suits at all, much less face irreparable injury from them.

        Nonetheless, the federal government also seems to suggest that third parties will suffer

irreparable harm if and when state courts find them liable under the Act. Even if that were so, it would

not harm the federal government. But it is not so because any such third party will have an adequate remedy

at law: raising any relevant defense, including a constitutional defense, in the state-court action. See

Georgia v. City of Chattanooga, 264 U.S. 472, 483–84 (1924) (holding Georgia had an adequate remedy at

law because “[a]ll its objections and defenses may be interposed in the Tennessee court”). Federal

courts cannot grant injunctive relief unless the “remedies available at law . . . are inadequate.” eBay Inc.

v. MercExchange, L.L.C., 547 U.S. 388, 391 (2006).

        That rule applies with special force when a plaintiff asks a federal court to enjoin threatened

litigation. “An injunction against threatened legal action will not issue if the party will have an adequate

opportunity to fully present his defenses and objections in the legal action he seeks to enjoin.” Travis

v. Pennyrile Rural Elec. Co-op., 399 F.2d 726, 729 (6th Cir. 1968). As Judge Posner explained:

        If A knows that B is about to sue him and thinks that B’s suit is barred by the statute
        of limitations, A cannot file suit against B asking that B be enjoined from bringing his
        suit on the ground that A has a good defense to it. The reason that the cases give for
        this result is that A has an adequate remedy at law—to interpose the statute of
        limitations as a defense in the case brought by B—and lack of an adequate remedy at
        law is a prerequisite to obtaining equitable relief.

Buntrock v. SEC, 347 F.3d 995, 997 (7th Cir. 2003) (internal quotation marks omitted).

        Of course, defendants in future civil actions will be able to raise the Heartbeat Act’s alleged



                                                    50
unconstitutionality as a defense. That is so, the Supreme Court of Texas explains, because the Texas

Rules of Civil Procedure “authorize pleading of every conceivable defense in an answer, including

unconstitutionality of a statute on which suit may be based.” State v. Scott, 460 S.W.2d 103, 107 (Tex.

1970); see also In re Doe 2, 19 S.W.3d 278, 284 (explaining that unconstitutionality “should generally be

raised as an affirmative defense to enforcement of the statute”) (citing Scott, 460 S.W.2d at 107). 14

        And indeed, defendants regularly raise such a defense. See, e.g., In re Diocese of Lubbock, ---

S.W.3d ---, 2021 WL 2386135 (Tex.) (plaintiff asserted unconstitutionality as a defense to civil liability,

arguing imposition of tort liability violated the First Amendment); see also Scurlock Permian Corp. v. Brazos

Cnty., 869 S.W.2d 478, 483–84 (Tex. App.—Houston [1st Dist.] 1993) (writ denied)

(unconstitutionality of the Texas constitution also an affirmative defense in the context of civil

liability); State v. River Forest Dev. Co., 315 S.W.3d 128, (Tex. App.—Houston [1st Dist.] 2010) (no pet.)

(Bland, J.) (unconstitutionality also an affirmative defense in the context of criminal liability). 15

        If state trial courts reject those defenses, defendants can appeal through the state-court system.

See, e.g., Tex. Civ. Prac. & Rem. Code § 51.012; Tex. Gov’t Code §§ 22.001(a), 22.007(a). And critically,

they can then seek review by the U.S. Supreme Court. See 28 U.S.C. § 1257(a).

        This has long been considered an adequate remedy at law to address unlawful state-court

judgments. When the State of Georgia sought equitable relief against a condemnation proceeding in

Tennessee state court, the Supreme Court held that “Georgia has a plain, adequate, and complete

remedy in the condemnation proceedings” because “[a]ll its objections and defenses may be


14The federal government about the Heartbeat Act’s limits on third-party standing, but that provision does not
injure anybody because (1) it is consistent with Supreme Court precedent and (2) any state-court defendant
who disagrees can simply challenge that provision as well. See Tex. Health & Safety Code § 171.209.
15 The Heartbeat Act also provides for a statutory “undue burden” defense. See Tex. Health & Safety Code
§ 171.209. The federal government argues that the statutory undue-burden defense is not as protective as it
believes the Constitution to be, see ECF 1 ¶ 25, but the federal government does not dispute that state-court
defendants can argue that the statute is unconstitutional regardless of whether they can satisfy the statutory
undue-burden defense. See, e.g., New York Times Co., 376 U.S. at 263.



                                                     51
interposed in the Tennessee court.” Georgia, 264 U.S. at 483. Indeed, the same rule applies even when

the would-be federal plaintiff faces criminal liability rather than the mere civil liability at issue here. See

Fenner v. Boykin, 271 U.S. 240, 244 (1926) (explaining that “[t]he accused should first set up and rely

upon his defense in the state courts” and that “ample opportunity for ultimate review [in the Supreme

Court] in respect of federal questions”).

        To the extent the federal government is interested in any given case, it is free to intervene and

challenge the constitutionality of the Act. See Tex. R. Civ. P. 60. Because the federal government can

“intervene in the state court proceeding,” it has “an adequate remedy at law that precludes the award

of equitable relief.” United States v. Rural Elec. Convenience Co-op. Co., 922 F.2d 429, 433 (7th Cir. 1991)

(“If the government may intervene, the injunction should be denied.”).

        The federal government cannot credibly argue that the ability to raise a constitutional defense

is not an adequate remedy. It routinely takes the position that Texas takes here, including just five

months ago. When Ohio challenged a federal statute, it claimed irreparable harm from potential

proceedings the federal government could initiate against Ohio. Urging the court to deny preliminary

injunctive relief, DOJ argued that “[a]n injunction against [even] threatened legal action will not issue

if the party will have an adequate opportunity to fully present his defenses and objections in the legal

action he seeks to enjoin.” Defs.’ Opp’n to Ohio’s Motion for Prelim. Inj., Ohio v. Yellen, No. 1:21-cv-

181, 2021 WL 2194219 (S.D. Ohio Apr. 16, 2021) (quoting Travis, 399 F.2d at 729).

        Indeed, DOJ has often argued that “[a]n injunction against threatened legal action will not

issue if the party will have an adequate opportunity to fully present his defenses and objections in the

legal action he seeks to enjoin”—at least when it is acting as defense counsel. 16 Just nine months ago,


16E.g., Defendants’ Response to and Motion to Dismiss Plaintiffs’ First Amended Complaint for Injunctive
and Declaratory Relief, Tamez v. Chertoff, No. 1:08-cv-55, 2008 WL 2214319 (S.D. Tex. Apr. 16, 2008) (quoting
Travis, 399 F.2d at 729); Federal Defendants’ Consolidated Opposition to Plaintiffs’ Motion for Preliminary
Injunction and Motion for Summary Judgment, and Cross-Motion for Summary Judgment, Garcia v. United
States, No. 01-cv-801, 2001 WL 34873962 (S.D. Fla. Oct. 29, 2001) (quoting Travis, 399 F.2d at 729); Brief in


                                                      52
DOJ recognized, “it is firmly established that a party’s ability to assert its claim as a defense in another

proceeding constitutes an adequate remedy at law.” Defs.’ Mot. Dismiss for Lack of Jurisdiction,

Walmart Inc. v. U.S. Dep’t of Justice, No. 4:20-cv-00817, ECF 43 at 12 (E.D. Tex. Dec. 4, 2020).

        DOJ’s traditional position is right: defendants will be able to raise constitutional defenses in

state court, and that is sufficient to avoid irreparable injury.

        Finally, for essentially the same reasons, the federal government is wrong to argue that the

Heartbeat Act “harms the United States by seeking to foreclose judicial review.” ECF 1 ¶ 44. The Act

does no such thing. In fact, it requires judicial review before any enforcement takes place.

        As the federal government admits, the Heartbeat Act is enforced by “private individuals

through civil litigation in state court,” ECF 1 ¶ 28, where defendants can raise constitutional defenses

before neutral judges. See U.S. Const. art. VI (providing that “the judges in every state shall be bound”

by the federal Constitution).

        This puts abortion providers in a better position than most regulated parties. Many regulatory

laws allow executive officials to enforce them without any kind of pre-deprivation process. Under this

law, however, a defendant has the benefit of judicial process before any penalty can be imposed.

        At bottom, the federal government seems to be perturbed that judicial review of the Heartbeat

Act will likely occur through state courts rather than federal courts. That is no cause for complaint.

State courts are competent to decide federal constitutional questions, and they routinely do so.

        Consider state tort law. It is common for a State’s tort law to be enforced through private

lawsuits rather than by state officials. So when someone has a federal constitutional objection to some

aspect of state tort law, there usually is not a state actor who can be sued in federal court. Instead, that




Support of Defendant’s Motion to Dismiss for Lack of Subject-Matter Jurisdiction, Dentsply Int’l, Inc. v Antitrust
Division of the U.S. Dep’t of Justice, No. CA 98-693, 1999 WL 33748872 (D. Del. Jan. 5, 1999) (quoting Travis, 399
F.2d at 729, and citing Rural Elec. Convenience Co-op. Co., 922 F.2d at 433).



                                                       53
person may raise a constitutional defense in any private tort suit brought in state court. Perhaps the

most famous example of this ubiquitous phenomenon is a First Amendment challenge to defamation

liability, as in New York Times Co. v. Sullivan, 376 U.S. 254 (1964). There, an Alabama official sued the

New York Times Company and other defendants for libel based on a newspaper advertisement. See

id. at 256. In state court, the defendants argued that imposing liability for libel “abridged the freedoms

of speech and of the press that are guaranteed by the First and Fourteenth Amendments.” Id. at 263.

Because the defendants lost at trial, they appealed through the state-court system and then to the U.S.

Supreme Court, see id. at 263–64, which reversed after ruling that the First Amendment provided

greater protection than the Alabama courts had recognized, see id. at 292. Nor is there anything unique

about common-law torts recognized by state courts: The same principle applies equally where a state

legislature creates statutory civil remedies for private plaintiffs that allegedly violate the defendant’s

federal constitutional rights. See id. at 265 (Alabama defamation law was “supplemented by statute”).

IV.     The Federal Government Has Not Clearly Shown that the Balance of Equities and
        Public Interest Favor an Injunction

        The only alleged harm relevant to the federal government itself, as opposed to third parties it

cannot represent, are speculative and de minimis financial costs. That is presumably why the federal

court did not seek relief until four months after the Heartbeat Act was passed. But federal courts do

not issue injunctions “to restrain an act the injurious consequences of which are merely trifling.”

Weinberger v. Romero-Barcelo, 456 U.S. 305, 311–12 (1982). Texas’s interest, on the other hand, is

significant because an injunction preventing the enforcement of state law “clearly inflicts irreparable

harm on the State.” Abbott v. Perez, 138 S. Ct. 2305, 2324 n.17 (2018).

V.      The Requested Injunction Is Unlawfully Broad

        Even if the Court determined that some portion or application of the Heartbeat Act is

unlawful, it could not enter the injunction that the federal government proposes. See ECF 6-2.

        The federal government’s first proposal is improper because it would not operate in personam.


                                                   54
An order “that enforcement proceedings pursuant to S.B. 8 are temporarily and preliminary enjoined

until further order of this Court” is not an injunction at all. ECF 6-2 at 1. “[A]n injunction is a judicial

process or mandate operating in personam.” Nken, 556 U.S. at 428. Thus, an injunction must be

“directed at someone.” Id. Because the federal government’s first proposed injunction would not run

against any person at all, it is categorically improper.

         The federal government’s third proposal is improper because Texas cannot comply with it.

For example, the State has no method of identifying “all civil claimants filing any new cases that are

in any way authorized by the provisions of S.B. 8.” ECF 6-2 at 2. The Texas judiciary is highly localized.

There is no statewide e-filing system, much less a cadre of state employees to review every complaint

that is filed.

         Finally, the Court should not issue a blanket injunction of the Act for two reasons: (1) it has

two severability clauses, and (2) the injunction must be limited to the federal government’s harm.

         In section 171.212 of the Texas Health and Safety Code, the Texas Legislature explicitly stated

that (1) it intended all provisions of chapter 171, in which the heartbeat provisions are located, to be

severable, and (2) it would have enacted any and all provisions of chapter 171 regardless of whether

any provisions are subsequently determined to be unconstitutional. Section 12 of the Heartbeat Act

also confirms that each provision is severable.

         Federal courts are to apply severability clauses in state laws. Leavitt v. Jane L., 518 U.S. 137, 139

(1996) (per curiam) (“Severability is of course a matter of state law.”). Where the legislature “has

explicitly provided for severance by including a severability clause in the statute,” the Court must

presume that the legislature “did not intend the validity of the statute in question to depend on the

validity of the constitutionally offensive provision.” Alaska Airlines, Inc. v. Brock, 480 U.S. 678, 686

(1987); see also Seila Law LLC v. Consumer Fin. Prot. Bureau, 140 S. Ct. 2183, 2209 (2020) (plurality op.).

As the Supreme Court has explained, courts should “enjoin only the unconstitutional applications of



                                                     55
a statute while leaving other applications in force, or . . . sever its problematic portions while leaving

the remainder intact.” Ayotte v. Planned Parenthood of N. New Eng., 546 U.S. 320, 328-29 (2006) (citation

omitted).

        Thus, a preliminary conclusion that the heartbeat provision is unconstitutional should have no

impact on the remainder of the law. Significantly, a private cause of action is not an undue burden for

post-viability abortions, which States can prohibit in nearly all circumstances. Casey, 505 U.S. at 846.

The federal government has provided no evidence that the Act is unconstitutional as applied to post-

viability abortions, so the Court must sever those abortions from any injunction.

        Whole Woman’s Health v. Hellerstedt is not to the contrary. 136 S. Ct. 2292 (2016). There, the

Court declined to apply a severability clause when plaintiffs challenged a single statute that

incorporated an “integrated” set of health-and-safety standards. Id. at 2319–20. The Court concluded

that doing so would amount to “quintessentially legislative work.” Id. at 2319. But recognizing that

the Heartbeat Act can apply to post-viability abortions does not require legislative work. Instead, this

case resembles Jane L., in which the Supreme Court required severance when abortion regulations

applied both before and after 20 weeks’ gestation. 518 U.S. at 139–44.

        Any injunction must also be limited to the scope of the harm. See Lewis, 518 U.S. at 357. The

harm identified by the federal government concerns payment for abortions performed as a result of

rape, incest, or life/health of the mother. Thus, any injunction should be limited to those specific

circumstances, as “injunctive relief should be no more burdensome to the defendant than necessary

to provide complete relief to the plaintiffs.” Lion Health Servs., Inc. v. Sebelius, 635 F.3d 693, 703 (5th

Cir. 2011) (cleaned up); see also Missouri v. Jenkins, 515 U.S. 70, 88, 89 (1995) (“[T]he nature of the . . .

remedy is to be determined by the nature and scope of the constitutional violation” (cleaned up)).

VI.     Request for a Stay Pending Appeal

        The Court should deny the federal government’s motion for the reasons explained above. If



                                                     56
the Court grants the motion, however, Texas respectfully moves for a stay pending appeal or, at the

very least, an administrative stay that would allow the State to seek a stay from the appropriate

appellate courts. See Fed. R. Civ. P. 62(c); Fed. R. App. P. 8. The factors discussed above apply equally

to Texas’s request for a stay. Nken, 556 U.S. at 534.

                                            CONCLUSION

        Texas respectfully requests that the Court dismiss this case and deny the federal government’s

motion for a temporary restraining order and preliminary injunction.




                                                   57
Date: September 29, 2021           Respectfully submitted.

KEN PAXTON                         PATRICK K. SWEETEN
Attorney General of Texas          Deputy Attorney General for Special Litigation

BRENT WEBSTER                      /s/ William T. Thompson
First Assistant Attorney General   WILLIAM T. THOMPSON
                                   Deputy Chief, Special Litigation Unit
                                   Tex. State Bar No. 24088531

                                   BETH E. KLUSMANN
                                   Assistant Solicitor General
                                   Tex. State Bar No. 24036918

                                   NATALIE D. THOMPSON
                                   Assistant Solicitor General
                                   Tex. State Bar No. 24088529

                                   ERIC A. HUDSON
                                   Senior Special Counsel
                                   Tex. State Bar No. 24059977

                                   LEIF A. OLSON
                                   Special Counsel
                                   Tex. State Bar No. 24032801

                                   BENJAMIN S. WALTON
                                   Assistant Attorney General
                                   Tex. State Bar No. 24075241

                                   AMY S. HILTON
                                   Assistant Attorney General
                                   Tex. State Bar No. 24097834

                                   OFFICE OF THE ATTORNEY GENERAL
                                   P.O. Box 12548 (MC-009)
                                   Austin, Texas 78711-2548
                                   Tel.: (512) 463-2100
                                   Fax: (512) 457-4410
                                   will.thompson@oag.texas.gov
                                   beth.klusmann@oag.texas.gov
                                   natalie.thompson@oag.texas.gov
                                   eric.hudson@oag.texas.gov
                                   leif.olson@oag.texas.gov
                                   benjamin.walton@oag.texas.gov
                                   amy.hilton@oag.texas.gov

                                   COUNSEL FOR DEFENDANT


                                       58
                                 CERTIFICATE OF CONFERENCE

       I certify that on September 29, 2021, I conferred with counsel for the federal government,
who represented that the federal government opposes Texas’s motion for a stay pending appeal.

                                              /s/ William T. Thompson
                                              WILLIAM T. THOMPSON


                                    CERTIFICATE OF SERVICE

     I certify that a true and accurate copy of the foregoing document was filed electronically (via
CM/ECF) on September 29, 2021, and that all counsel of record were served by CM/ECF.

                                              /s/ William T. Thompson
                                              WILLIAM T. THOMPSON




                                                59
